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                               Exhibit A
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               Ethiopian Airlines Flight 302 Related Cases
Exhibit               Case Name                   Case No.              Judge

Exhibit   KEVIN J. CONWAY, as Special           1:19-cv-04074   Hon. Sharon Johnson
  B       Administrator for the ESTATE OF                       Coleman
          JULIAH MWASHI INGASIANA,

          v.

          THE BOEING COMPANY, a
          corporation; ROSEMOUNT
          AEROSPACE, INC., a corporation;
          ROCKWELL COLLINS, INC., a
          corporation; HAMILTON
          SUNDSTRAND CORPORATION
          d/b/a UTC AEROSPACE SYSTEMS,
          a corporation, collectively with
          ROCKWELL COLLINS, INC d/b/a
          COLLINS AEROSPACE

Exhibit   KEVIN J. CONWAY, as Special           1:19-cv-04076   Hon. Thomas M. Durkin
  C       Administrator for the ESTATE OF
          MARHUM HUSSEIN SWALEH M
          TETU,

          v.

          THE BOEING COMPANY, a
          corporation; ROSEMOUNT
          AEROSPACE, INC., a corporation;
          ROCKWELL COLLINS, INC., a
          corporation; HAMILTON
          SUNDSTRAND CORPORATION
          d/b/a UTC AEROSPACE SYSTEMS,
          a corporation, collectively with
          ROCKWELL COLLINS, INC d/b/a
          COLLINS AEROSPACE

Exhibit   JABOMA BANDA OCHUODHO                 1:19-cv-04106   Hon. Jorge L. Alonso
  D       PHILIP AKEYO, ALLAN
          ONYANGO JABOMA and GEORGE
          OMONDI, as personal representatives
          of the Estate of ISABELLA BERYL
          ACHIENG JABOMA, deceased,
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          v.

          THE BOEING COMPANY

Exhibit   KLAUS PHILIPP, Individually as a         1:19-cv-04107   Hon. Robert M. Dow Jr.
  E       Surviving Parent, and as the Special
          Administrator of the Estate of MARIE
          CHRISTIN PHILIPP, Deceased,

          v.

          THE BOEING COMPANY, a
          corporation; ROSEMOUNT
          AEROSPACE, INC., a corporation

Exhibit   ASTRID WIGSTROM                          1:19-cv-4137    Hon. Sharon Johnson
  F       WESTERLIND, Individually as                              Coleman
          Surviving Spouse and as Special
          Administrator of the Estate of MAX
          THABISO EDKINS, Deceased, and
          on behalf of all Surviving
          Beneficiaries,
          v.

          THE BOEING COMPANY, a
          corporation; ROSEMOUNT
          AEROSPACE, INC., a corporation

Exhibit   ADRIAN PETER TOOLE,                      1:19-cv-04140   Hon. Elaine E. Bucklo
  G       Individually as a Surviving Parent,
          and as the Special Administrator of
          the Estate of JOANNA HELEN
          TOOLE, Deceased,

          v.

          THE BOEING COMPANY, a
          corporation; ROSEMOUNT
          AEROSPACE, INC., a corporation

Exhibit   SWALEH MOHAMED ABDALLA,                  1:19-cv-04162   Hon. Joan H. Lefkow
  H       as Special Administrator of the Estate
          of SIIT ABDALLA MOHAMED,
          deceased,

          v.



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        THE BOEING COMPANY, a
        corporation; ROSEMOUNT
        AEROSPACE, INC., a corporation




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                               Exhibit B
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

KEVIN J. CONWAY as Special                 )
Administrator for the ESTATE OF JULIAH )
MWASHI INGASIANA,                          )
                                           )
                               Plaintiff,  )          NO.     1:19-cv-4074
                                           )
               v.                          )
                                           )
THE BOEING COMPANY, a Delaware )                      Plaintiff Demands Trial by Jury
Corporation; and ROSEMOUNT                 )
AEROSPACE, INC, a Delaware                 )
Corporation; and ROCKWELL COLLINS, )
INC., a Delaware corporation and           )
HAMILTON SUNDSTRAND                        )
CORPORATION d/b/a UTC                      )
AEROSPACE SYSTEMS, a Delaware              )
corporation, collectively with ROCKWELL )
COLLINS, INC d/b/a COLLINS                 )
AREOSPACE,                                 )
                                           )
                               Defendants. )
____________________________________)

                                     COMPLAINT AT LAW

       Plaintiff KEVIN J. CONWAY, as Special Administrator for the ESTATE OF JULIAH

MWASHI INGASIANA, by and through their attorneys, POWER ROGERS & SMITH, LLP,

FRIEDMAN RUBIN PLLP, and SHAKESPEAR FEYISSA, files this Complaint pursuant to the

Wrongful Death Act of Illinois, 740 ILCS 180/2.1, against the above-named Defendants

(hereinafter referred to as “Boeing,” “Rosemount” and “Collins”), and states as follows:

                                             PARTIES

       1.      This is an action for damages pursuant to the Illinois Wrongful Death Act, 740 Ill.

Comp. Stat. 180/1 et seq., Illinois Product Liability Act, 735 Ill. Comp. Stat. 5/13-213, or any other

applicable law, based on the defective design and the inadequate warnings of the Boeing 737 Max.



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          2.   Kevin J. Conway has been appointed as the Special Administrator for the Estate of

Juliah Mwashi Ingasiana, pursuant to 740 ILCS 180/2.1. See Exhibit A.

          3.   Juliah Mwashi Ingasiana died in the crash of Ethiopian Airlines Flight 302 on

March 10, 2019.

          4.   The Decedent’s only surviving heirs are: her spouse, Henry Macharia, and their two

children, Ivy Nduta Macharia and Joy Ayuma Macharia.

          5.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a)(2) based

on diversity of citizenship because the matter in controversy exceeds the sum or value of $75,000,

inclusive of interest and costs, and arises between citizens of U.S. states and citizens of foreign

states.

          6.   Venue is proper in the Northern District of Illinois: pursuant to 28 U.S.C.

§1391(b)(1) because Boeing is and has, at all relevant times, been a citizen and resident of the

State of Illinois. Boeing’s corporate headquarters and principal place of business are located in this

judicial district at 100 North Riverside, Chicago, Cook County, Illinois 60606; At all relevant

times, Defendant Boeing Company is a Delaware corporation with its principal place of business

and corporate headquarters in Chicago, Illinois. Boeing has been authorized to do business and has

been transacting or conducting business within the State of Illinois. See 735 Ill. Comp. Stat. 5/2-

209(b)(4).

          7.   At all times relevant to this complaint, Defendant Boeing was engaged in the

business of designing, manufacturing, assembling, testing, servicing, marketing, promoting,

leasing and selling commercial aircrafts as well as providing information and warnings about such

aircrafts, including the aircraft at issue, the Boeing 737 Max.

          8.   Pursuant to 28 U.S.C. §1391(b)(3) because Rosemount transacted and continues to

transact regular and substantial business with Chicago-based Boeing in Cook County, Illinois; and

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pursuant to 28 U.S.C. §1391(b)(2) was engaged in the business of designing, manufacturing,

assembling, testing, servicing, marketing, promoting, and supplying as well as providing

information and warnings about the Angle of Attack sensor (“AOA sensor”) which was affixed to

the aircraft at issue, the Boeing 737 Max.

        9.     Pursuant to 28 U.S.C. §1391(b)(3) ROCKWELL COLLINS, INC., a Delaware

corporation and HAMILTON SUNDSTRAND CORPORATION d/b/a UTC                             AEROSPACE

SYSTEMS, a Delaware corporation, collectively with ROCKWELL COLLINS, INC d/b/a

COLLINS AREOSPACE, (herein referred to as “Collins”), Avionics Division, formerly known as

Rockwell Collins, is located in Cedar Rapids, Iowa and may be served with process through any

of its directors at its principal office located at 14300 Judicial Road, Burnsville, Minnesota, 55306-

4898.

        10.    At all times relevant to this complaint, Defendant Collins was engaged in the

business of designing, programming, manufacturing, assembling, testing, servicing, marketing,

promoting, and supplying as well as providing information and warnings about the Maneuvering

Characteristics Augmentation System (“MCAS system”) which was installed on the aircraft at

issue, the Boeing 737 Max.

FACTS

        11.    The facts of this case highlight a series of actions taken by Boeing to put profit over

the lives of children, women and men. In an effort to compete with Airbus’s new fuel-efficient

Neo aircraft, Defendant Boeing rushed an aircraft to market that was not airworthy and then

concealed its defects in order to sell more airplanes. That aircraft is the Boeing 737 Max 8 (“Max

8”).




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           12.     Boeing opted to build the Max 8 because it would be quicker, easier, and cheaper

than starting from scratch, and would provide fuel savings for airlines. 1

           13.     Boeing produced sloppy blueprints for the Max 8 and told a technician that

instructions would be cleaned up later in the process.

           14.     Boeing set a ground rule for engineers: Limit changes to hopefully avert a

requirement that pilots spend time training in a flight simulator before flying the Max 8.

           15.     Boeing marketed the Max 8 to airlines telling them that it will also reduce costs on

training pilots who already were licensed to fly the Boeing 737. 2

           16.     Boeing trained the Max 8 pilots using an iPad.

           17.     To improve the fuel efficiency of their new jet, Boeing put new engines on the Max

8.

           18.     The new engines were bigger than the 737 NG engines and Boeing had to change

the mounting point of the engine.

           19.     Boeing put the Max 8 engines further forward and higher on the wings than on the

737 NG.

           20.     The different mounting point made the Max 8 prone to aerodynamic stall. The

engine positions on the wings gives the Max 8 a tendency to pitch up under high power.

           21.     In order to prevent an aerodynamic stall Boeing and Collins Aerospace developed

software which told the flight control system to change its angle of attack downward if a stall risk

is perceived. This is known as Maneuvering Characteristics Augmentation System (“MCAS”).




1
    https://www.nytimes.com/2019/03/23/business/boeing-737-max-crash.html
2
    https://www.aviationcv.com/aviation-blog/2019/shocking-facts-boeing-737max-crash


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       22.     On the Max 8, if a stall risk is perceived the computer on the aircraft automatically

initiates a downward pitch angle.

       23.     Boeing intentionally omitted information about the MCAS system from its Max 8

flight manual and training materials, leaving pilots ignorant of its very existence.

       24.     An Angle of Attack (AOA) sensor, designed and manufactured by Rosemount, was

affixed to the Max 8 and designed to tell the flight control system if a stall risk is perceived. The

Rosemount AOA sensor was prone to failure and to providing false data.

       25.     Boeing intentionally designed the flight control system to rely upon data from one

single sensor on the Max 8 in order to prevent more in-depth training, making it easier to sell its

aircraft to airlines. Boeing’s selling point was that the Max 8 would only require “distance

learning” using an iPad, with no down time for crew to train on simulators.

       26.     Boeing provided some airlines with an “optional” feature allowing the flight control

system to obtain information from two different AOA sensors. In this optional configuration if one

AOA sensor receives data that does not agree with data received by the other sensor, the MCAS

does not command a pitch down of the aircraft.

       27.     In a Max 8 configured in the standard manner there are two AOA sensors but the

Flight Control System only receives data from one AOA sensor. But if one AOA sensor receives

bad data, falsely indicating a stall, the aircraft will pitch nose down and can crash.

       28.     The subject aircraft did not contain the optional feature. It relied upon data from

one AOA sensor even though it had two AOA sensors.

       29.     The angle of attack sensor is depicted below:




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         30.   The horizontal stabilizer on the Max 8 is positioned by a single electric trim motor

controlled through either the stab trim switches on the control wheel, autopilot trim or through the

MCAS system. The stabilizer may also be positioned by manually rotating the stabilizer trim

wheel.

         31.   Switches on each control wheel actuate the electric trim motor through the main

electric stabilizer trim circuit when the aircraft is flown manually. With the autopilot engaged,

stabilizer trim is accomplished through the autopilot stabilizer trim circuit. The main electric and

autopilot stabilizer trim have two speed modes: high speed with flaps extended and low speed with

flaps retracted. If the autopilot is engaged, actuating either pair of stabilizer trim switches




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automatically disengages the autopilot. The stabilizer trim wheels rotate whenever electric

stabilizer trim is actuated.

        32.     The STAB TRIM PRI cutout switch and the STAB TRIM B/U cutout switch on the

Max 8 are located on the control stand. If either switch is positioned to CUTOUT, both the

autopilot and main electric trim inputs are disconnected from the stabilizer trim motor.

        33.     The control column actuated stabilizer trim cutout switches on the Max 8 stop

operation of the main electric and autopilot trim when the control column movement opposes trim

direction. This is not true for pitch commands for the MCAS. When the STAB TRIM override

switch is positioned to OVRD, electric trim can be used regardless of control column position.

        34.     Pitch trim is controlled by changing the pitch of the horizontal stabilizer. Changing

pitch of the horizontal stabilizer can place large pitch forces on the aircraft. When applied

appropriately, these forces can keep the aircraft in balance. When applied inappropriately, they

can make the aircraft difficult to handle.

        35.     Forces generated by the horizontal stabilizer from an out of trim condition can

exceed the forces that can be generated by the elevator.

        36.     It is possible on the Max 8, to have an out of trim condition that when countered by

elevator control inputs from the crew, puts enough load on the pitch trim mechanism that it

essentially jams the pitch trim control. Manual trim cannot overcome this load on the mechanism.

        37.     The elevator is a smaller control surface when compared to the surface area of the

controllable horizontal stabilizer.

        38.     This scenario is depicted by the illustration below:




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       39.     Electric trim works in a narrower range of motion than manual trim. If the stabilizer

is out of trim and outside the range of electric trim operation, only manual trim can be used.

       40.     In addition to its failure to warn, create a provide instructions to pilot and train

pilots on the MCAS system and how to override the Flight Control System when it is provided

with false AOA data, Boeing designed a pitch trim control system that is capable of jamming.

                      CRASH OF ETHIOPIAN AIRLINES FLIGHT 302

       41.     On March 10, 2019 Juliah Mwashi Ingasiana was a fare paying passenger onboard

a Boeing 737-8 (Max) aircraft, ET-AVJ, Serial Number 62450, with an intended destination of

Nairobi, Kenya.

       42.     At 05:38 UTC, Ethiopian Airlines flight 302, Boeing 737-8(Max), ET-AVJ, took

off from Addis Ababa Bole Int. Airport bound to Nairobi, Kenya Jomo Kenyatta Int. Airport.

Shortly after takeoff, the Angle of Attack sensor that recorded that value became erroneous and

the left stick shaker activated and remained active until near the end of the flight. In addition, the

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airspeed and altitude values from the left air data system began deviating from the corresponding

right side values. The Captain requested to return back to the departure airport. The aircraft crashed

at 5:44 UTC 28 NM South East of Addis Ababa near Ejere village. There were 157 passengers

and crew on board. All were fatally injured, and the aircraft was destroyed.

       43.     Just one minute into the flight the Captain, Yared Getachew, reported that the crew

was having flight-control problems. The anti-stall system then kicked in and pushed the nose of

the aircraft down for nine seconds. Instead of climbing, the aircraft descended slightly. Audible

warnings — “Don’t Sink” — sounded in the cockpit. The pilots fought to turn the nose of the plane

up, and briefly they were able to resume climbing. The MCAS system pushed the nose down again,

triggering more squawks of “Don’t Sink” from the plane’s ground-proximity warning system. The

pilots then flipped two switches and disconnected the anti-stall system, then tried to regain control.

They asked to return to the airport but were continuing to struggle getting the aircraft to gain

altitude. Power to controls was returned. The MCAS engaged again, pushing the plane into a nose

dive. Thirty seconds later the cockpit voice recording ended, the plane crashed, and all 157 people

on board were killed. The aircraft’s impact created a 30 meter deep crater.

       44.     According to a preliminary report issued by the Ethiopian Aircraft Accident

Investigation Bureau, the following is what occurred, minute by minute.

       45.     At 05:38:44, shortly after liftoff, the left and right recorded AOA values deviated.

The left AOA decreased to 11.1 degrees then increased to 35.7 degrees while the value of the right

AOA indicated 14.94 degrees. Then the left AOA value reached 74.5 degrees in ¾ seconds while

the right AOA reached a maximum value of 15.3 degrees. At this time, the left stick shaker

activated and remained active until near the end of the recording. Also, the airspeed, altitude and




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flight director pitch bar values from the left side noted deviating from the corresponding right side

values. The left side values were lower than the right side values until near the end of the recording.

       46.     At 05:38:43 and about 50 ft radio altitude, the flight director roll mode changed to

LNAV. At 05:38:46 and about 200 ft radio altitude, the Master Caution parameter changed state.

The First Officer called out Master Caution Anti-Ice on CVR. Four seconds later, the recorded

Left AOA Heat parameter changed state.

       47.     At 05:38:58 and about 400 ft radio altitude, the flight director pitch mode changed

to VNAV SPEED and the Captain called out “Command” (standard call out for autopilot

engagement) and an autopilot warning is recorded. At 05:39:00, the Captain called out

“Command”. At 05:39:01 and about 630 ft radio altitude, a second autopilot warning is recorded.

       48.     At 05:39:06, the Captain advised the First-Officer to contact radar and the First

Officer reported SHALA 2A departure crossing 8400 ft and climbing FL 320. Between liftoff and

1000 ft above ground level (AGL), the pitch trim position moved between 4.9 and 5.9 units in

response to manual electric trim inputs. At 1000 ft AGL, the pitch trim position was at 5.6 units.

At 05:39:22 and about 1,000 feet the left autopilot (AP) was engaged (it disengaged about 33

seconds later), the flaps were retracted and the pitch trim position decreased to 4.6 units. Six

seconds after the autopilot engagement, there were small amplitude roll oscillations accompanied

by lateral acceleration, rudder oscillations and slight heading changes. These oscillations continued

also after the autopilot was disengaged. At 05:39:29, radar controller identified ET-302 and

instructed to climb FL 340 and when able right turns direct to RUDOL and the First-Officer

acknowledged.

       49.     At 05:39:42, Level Change mode was engaged. The selected altitude was 32000 ft.

Shortly after the mode change, the selected airspeed was set to 238 kt.



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       50.     At 05:39:45, the Captain requested flaps up and the First-Officer acknowledged.

One second later, the flap handle moved from 5 to 0 degrees and flaps retraction began. At

05:39:50, the selected heading started to change from 072 to 197 degrees and at the same time the

Captain asked the First-Officer to request to maintain runway heading.

       51.     At 05:39:55, Autopilot disengaged, at 05:39:57, the Captain advised the First-

Officer to request to maintain runway heading and that they were having flight control problems.

At 05:40:00 shortly after the autopilot disengaged, the FDR recorded an automatic aircraft nose

down (AND) activated for 9.0 seconds and pitch trim moved from 4.60 to 2.1 units. The climb

was arrested and the aircraft descended slightly.

       52.     At 05:40:03 the Ground Proximity Warning System (GPWS) “DON’T SINK”

alerts occurred. At 05:40:05, the First-Officer reported to ATC that they were unable to maintain

SHALA 1A and requested runway heading which was approved by ATC.

       53.     At 05:40:06, left and right flap position reached a recorded value of 0.019 degrees

which remained until the end of the recording. The column moved aft and a positive climb was re-

established during the automatic AND motion. At 05:40:12, approximately three seconds after

AND stabilizer motion ends, electric trim (from pilot activated switches on the yoke) in the Aircraft

nose up (ANU) direction is recorded on the DFDR and the stabilizer moved in the ANU direction

to 2.4 units. The Aircraft pitch attitude remained about the same as the back pressure on the column

increased.

       54.     At 05:40:20, approximately five seconds after the end of the ANU stabilizer

motion, a second instance of automatic AND stabilizer trim occurred and the stabilizer moved

down and reached 0.4 units.




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       55.     From 05:40:23 to 05:40:31, three Ground Proximity Warning System (GPWS)

“DON’T SINK” alerts occurred.

       56.     At 05:40:27, the Captain advised the First-Officer to trim up with him. At 05:40:28

Manual electric trim in the ANU direction was recorded and the stabilizer reversed moving in the

ANU direction and then the trim reached 2.3 units.

       57.     At 05:40:35, the First-Officer called out “stab trim cut-out” two times. The Captain

agreed and the First Officer confirmed stab trim cut-out. At 05:40:41, approximately five seconds

after the end of the ANU stabilizer motion, a third instance of AND automatic trim command

occurred without any corresponding motion of the stabilizer, which is consistent with the stabilizer

trim cutout switches were in the ‘’cutout’’ position.

       58.     At 05:40:44, the Captain called out three times “Pull-up” and the First-Officer

acknowledged. At 05:40:50, the Captain instructed the First Officer to advise ATC that they would

like to maintain 14,000 ft and they had a flight control problem. At 05:40:56, the First-Officer

requested ATC to maintain 14,000 ft and reported that they were having a flight control problem.

ATC approved.

       59.     From 05:40:42 to 05:43:11 (about two and a half minutes), the stabilizer position

gradually moved in the AND direction from 2.3 units to 2.1 units. During this time, aft force was

applied to the control columns which remained aft of neutral position. The left indicated airspeed

increased from approximately 305 kt to approximately 340 kt (VMO). The right indicated airspeed

was approximately 20-25 kt higher than the left. The data indicates that aft force was applied to

both columns simultaneously several times throughout the remainder of the recording.

       60.     At 05:41:20, the right overspeed clacker was recorded on Cockpit Voice Recorder.

It remained active until the end of the recording. At 05:41:21, the selected altitude was changed



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from 32000 ft to 14000 ft. At 05:41:30, the Captain requested the First-Officer to pitch up with

him and the First-Officer acknowledged.

       61.     At 05:41:32, the left overspeed warning activated and was active intermittently

until the end of the recording. At 05:41:46, the Captain asked the First-Officer if the trim was

functional. The First-Officer has replied that the trim was not working and asked if he could try it

manually. The Captain told him to try.

       62.     At 05:41:54, the First-Officer replied that it was not working. At 05:42:10, the

Captain asked and the First-Officer requested a vector to return and ATC approved.

       63.     At 05:42:30, ATC instructed ET-302 to turn right heading 260 degrees and the

First-Officer acknowledged. At 05:42:43, the selected heading was changed to 262 degrees. At

05:42:51, the First-Officer mentioned Master Caution Anti-Ice. The Master Caution is recorded

on DFDR.

       64.     At 05:42:54, both pilots called out “left alpha vane”. At 05:43:04, the Captain asked

the First Officer to pitch up together and said that pitch is not enough. At 05:43:11, about 32

seconds before the end of the recording, at approximately 13,4002 ft, two momentary manual

electric trim inputs are recorded in the ANU direction. The stabilizer moved in the ANU direction

from 2.1 units to 2.3 units.

       65.     At 05:43:20, approximately five seconds after the last manual electric trim input,

an AND automatic trim command occurred and the stabilizer moved in the AND direction from

2.3 to 1.0 unit in approximately 5 seconds. The aircraft began pitching nose down. Additional

simultaneous aft column force was applied, but the nose down pitch continued, eventually reaching

40 degrees nose down. The stabilizer position varied between 1.1 and 0.8 units for the remainder

of the recording. The left Indicated Airspeed increased, eventually reaching approximately 458 kts



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and the right Indicated Airspeed reached 500 kts at the end of the recording. The last recorded

pressure altitude was 5,419 ft on the left and 8,399 ft on the right.

       66.     Data from the Flight Data Recorder on the aircraft can be seen below:




                                     BACKGROUND FACTS

       67.     Prior to the loss of all One Hundred and Fifty-Seven (157) lives in the Ethiopian

Airlines Crash of March 10, 2019 Boeing was put on notice that its Max 8 aircraft was defective

and dangerous and concealed these defects in order to sell more of the Max 8 airplanes.

       68.     Boeing was put on notice time and time again that the Max 8 was unreasonably

dangerous but failed to rectify the flawed design, failed to provide adequate working sensors or

software fixes, failed to provide working warnings or alarms, failed to install, design or retrofit its



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aircraft with adequate sensors and failed to provide adequate warnings or training about the danger.

For Example:

          69.      Max 8 Danger Warning Number 1: In 2006 the Future Aviation Safety Team

(“FAST”) published a 50 page study on “Increasing Reliance on Flight Deck Automation,” after

conducting a pilot survey among more than 190 pilot respondents, with a mean of 10,000 flying
                                             3
hours and 20 years in the business.              The top five hazards FAST identified with emerging

autonomous flight systems included the following four out of five hazards all of which are

applicable to the Max 8 MCAS and AOA sensor system:

                a. Failure of the flight crew to remain aware of automation mode and aircraft energy

                   state;

                b. Unfamiliar modes of aircraft automation may result in a perfectly normal flying

                   aircraft suddenly taking on characteristics that the pilot has seldom or never

                   previously encountered;

                c. Latent flaws in the displays or primary flight control system may go undetected,

                   because not enough human-in-the-loop testing is performed;

                d. Pilots may not be adequately trained to understand the philosophy of the automation

                   design when the functionality is being automatically degraded in particular

                   situations for reasons known only to the software.

          70.      Despite the 2006 FAST report Boeing designed and used an automated flight

system that it did not disclose to pilots. It used data from a single sensor that caused the aircraft to

take on characteristics that the pilot did not previously encounter. Boeing intentionally did not




3
    https://www.nlr.org/wp-content/uploads/2018/11/FAST-AC13-Hazard-Summary.pdf

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train pilots to have notice that the aircraft might take on such characteristics nor what to do about

it.

         71.    Boeing designed an MCAS system with no Human in the Loop. HITL is defined as

a model that requires human interaction. In HITL systems a human is always part of the simulation

and consequently influences the outcome in such a way that is difficult to reproduce. Boeing failed

to adequately train pilots about the existence of MCAS and then failed to inform pilots about how

the system worked such that they could interact with it or override it.

         72.    Max 8 Safety Notice Number 2: The crash of Turkish Airlines Flight 1951 in

2009, ten years prior to the Ethiopian Airlines Crash, demonstrated the risks of an automated flight-

control system relying on data from a single sensor. 4

         73.    Investigators of the 2009 crash of a Turkish Airlines jet identified a faulty altitude

sensor that thought the plane was closer to the ground than it was and triggered the engines to idle.

The plane’s second radio altimeter displayed the correct elevation, but it didn’t matter: the

automatic throttle was tied to the first gauge. The Amsterdam-bound plane crashed into a field,

killing nine people and injuring 120.

         74.    Boeing ended up changing that throttle system to prevent one erroneous altitude

reading from cascading into tragedy, changes the U.S. Federal Aviation Administration

subsequently made mandatory.

         75.    The Turkish Airlines Crash, which injured and killed some of its own Boeing

employees who happened to be on the flight, provided clear notice that relying upon one data point

to provide information to the flight control system can be fatal.




4
 https://www.bloomberg.com/news/articles/2019-05-07/boeing-max-failed-to-apply-safety-lesson-from-deadly-
2009-crash

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       76.     Max 8 Safety Notice Number 3: Lion Air 610 Crash of October 29, 2018. One

Hundred and Eighty-Nine (189) lives were lost when a Max 8 crashed. Investigators quickly

concluded that the MCAS system on the aircraft was activated resulting from erroneous angle of

attack (AOA) information and the pilots were without an optional feature that would have alerted

them to the error. This is the single biggest notice that Boeing had that its Max 8 aircraft was

defective and dangerous yet it concealed these defects in order to sell more of the Max 8 airplanes.

       77.     Boeing delivered the subject crashed Max 8 to Ethiopian Airlines after the Lion Air

Crash. It flew the aircraft from Boeing Field in Seattle, Washington to Dublin, Ireland on

November 15, 2018, delivering the aircraft in Addis Ababa on November 17, 2018.




       78.     Only after the Lion Air Crash and the loss of 189 lives did Boeing tell different

airlines months apart from one another that cockpit alerts for the AOA sensors did not work on the

Max 8 due to a software error.



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         79.     Boeing told Southwest Airlines about the problem in late November 2018 and

began installing additional cockpit warning systems by late November.

         80.     Boeing told United Continental Holdings, Inc. about the software error toward the

end of March, four months after Southwest and after the crash of Ethiopian Airlines Flight 302.

         81.     Max 8 Safety Notice Number 4: In 2017 Boeing engineers learned that alerts were

not operating as intended on the Max 8 due to a software error. 5 Instead of telling the Federal

Aviation Administration or the airlines or pilots, it concealed this problem.

         82.     Max 8 Safety Notice Number 5: During the action design of the Max 8 Boeing

intentionally chose to use a single point failure system, without redundancies. 6 In aviation design

it is essential to have a fail safe or backup. Boeing violated this simple aviation safety rule. Boeing

engineers and managers noticed that this fundamental rule was being violated but did nothing.

         83.     Boeing chose not to make the MCAS system redundant in order to make the Max

8 cheaper for training purposes, in order to sell more airplanes.

         84.     Rick Ludtke, a former Boeing engineer who worked on designing the interfaces on

the Max 8’s flight deck, said managers mandated that any differences from the previous 737 had

to be small enough that they wouldn’t trigger the need for pilots to undergo new simulator training.

         85.     According to Mr. Ludtke, if the group had built the MCAS in a way that would

depend on two sensors, and would shut the system off if one fails, he thinks the company would

have needed to install an alert in the cockpit to make the pilots aware that the safety system was




5
  https://www.wsj.com/articles/boeing-knew-about-safety-alert-problem-for-a-year-before-telling-faa-airlines-
11557087129
6
  https://www.seattletimes.com/business/boeing-aerospace/a-lack-of-redundancies-on-737-max-system-has-baffled-
even-those-who-worked-on-the-jet/?utm_source=twitter&utm_medium=social&utm_campaign=article_inset_1.1


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off. And if that happens, Ludtke said, the pilots would potentially need training on the new alert

and the underlying system. That could mean simulator time, which was off the table."

               BOEING FALSIFIED AND OMMITTED INFORMATION FROM
                              PILOTS AND AIRLINES

         86.     Boeing concealed information about the MCAS system from its customers and

passengers.

         87.     Boeing purposefully concealed information about the MCAS system in order to sell

more aircraft.

         88.     Boeing affirmatively omitted information about the MCAS system from its Flight

Control Manual on the Max 8.

         89.     Boeing affirmatively chose not to instruct or train pilots on the MCAS system, in

order to sell more Max 8 airplanes.

         90.     After the public and pilots questioned the safety of the Max 8 Boeing continued to

conceal and omit information about the safety of the Max 8, in order to sell more aircraft.

         91.     After the public and pilots questioned the safety of the training for the Max 8, which

does not rely upon simulator training, Boeing continued to downplay the need for simulator

training, in order to sell more aircraft.

          BOEING CONSPIRED WITH THE FEDERAL AVIATION ADMINISTRATION

         92.     Federal Aviation Administration safety engineers worked under constant pressure

from their managers to delegate more and more work to Boeing itself, and to speedily approve the

Max 8 safety assessments the Boeing designees came up with. 7




7
  https://www.seattletimes.com/business/boeing-aerospace/engineers-say-boeing-pushed-to-limit-safety-testing-in-
race-to-certify-planes-including-737-max/

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       93.     Boeing removed a senior engineer acting as an FAA Authorized Representative

who raised questions about the speed with which the FAA was being asked to approve Boeing’s

changes to the Max 8.

       94.     Federal Aviation Administration (FAA) engineers in Renton worked in a negative

work environment created by FAA managers where safety engineers feared retaliation for

attempting to hold Boeing accountable.

       95.     According to the Seattle Times, the culture at the Renton, Washington aircraft

certification office involved delegating more than the FAA technical specialists were comfortable

with. When the FAA's safety engineers had an opinion different from Boeing's, FAA management

in the office tended to side with Boeing.

       96.     The current procedure under which aircraft are certified creates a system that is

vulnerable to undue pressure and control from the aircraft manufacturer. This diagram from the

Seattle Times illustrates the difference between how aircraft used to be certified to be allowed to

be sold and flown and the current certification process.




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        97.     Boeing took advantage of this system in order to rush a dangerous airplane to

market in order to compete with Airbus and increase its revenue.

        98.     The FAA worked with Boeing to assist it in its abuse of this system and allowed a

dangerous aircraft to be marketed, sold and flown globally.

                                   FACTS ABOUT BOEING

        99.     Boeing markets itself as “the world's largest aerospace company and leading

manufacturer of commercial jetliners” and claims “a long tradition of aerospace leadership and

innovation” including “creating advanced technology solutions.”

        100.    With corporate headquarters in Chicago, Boeing employs more than 165,000

people across the United States and in more than 65 countries.

        101.    Boeing claims it has “one of the most diverse, talented and innovative workforces

anywhere.”

        102.    In Boeing’s 2018 Annual Report, its reported annual revenue was $101.1 billion in

revenue.

        103.    Despite these resources, the Max 8 aircraft at issue was not equipped with

appropriate sensors, warning systems, software, or a trim system to warn or protect the people on

board that airplane from a computer initiated crash into terrain that resulted in a crater 30 meters

deep.

        104.    Despite these resources Boeing shifted the cost of Max 8 pilot training to the

airlines and designed its aircraft in an unsafe manner to create a selling point- cheap training for

flight crews.




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           105.     Despite these resources the subject aircraft’s flight crew lacked training on how to

mitigate or prevent an MCAS initiated crash from faulty AOA sensor data so that it could save the

lives of the One Hundred and Fifty-Seven passengers and crew onboard.

           106.     Boeing knew that information from a single AOA sensor could cause a fatal crash

and knew that safer alternatives were available that were technologically available and

economically feasible.

           107.     Yet Boeing did not design or redesign or retrofit the subject Max 8 aircraft to

remove or reduce the occurrence of these hazardous events.

           108.     Rather than admit the truth about the Max 8, Boeing instead deliberately

misrepresented the safety of its aircraft.

           109.     For instance, after the Lion Air Crash and months prior to the Ethiopian Airlines

Crash, pilots from the Allied Pilot’s Association complained to Boeing about its concealment of

the MCAS system and the danger of hiding information on the Max 8 from pilots. In response

Boeing misrepresented the safety of the Max 8. 8

           110.     During that meeting a pilot said “We flat out deserve to know what’s on our

airplane.” "I don't disagree," the official from Boeing responded. "[The pilots of Lion Air 610]

didn't even know the damn system was on the airplane," another pilot said. "Nor did anybody else."

The Boeing official stated "I don't know that understanding this system would have changed the

outcome of this, in a million miles you're going to maybe fly this airplane, and maybe once you're

going to see this ever." Four months later, Ethiopian Airlines flight 302 crashed minutes after take-

off and evidence continues to mount that the MCAS was a major factor in the crashes of the two

planes.



8
    https://interestingengineering.com/pilots-confronted-boeing-about-risks-before-2nd-737-max-8-crash

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        111.    Due to the danger posed by the Max 8 the Federal Aviation Administration has

grounded the aircraft.

        112.    As described in further detail herein, Boeing knew of the defects in the subject

aircraft, knew that because of such defects the Max 8 was not airworthy, was on notice that the

defects were likely to cause injury and death yet failed to adequately warn or instruct on the aircraft

defects, failed to remedy the known defect in the subject aircraft, failed to discover the dangerous

conditions when such could have been discovered and / or failed to take affirmative action to avoid

injury to Plaintiffs and others.

        113.    Because of Boeing’s gross, willful, and reckless disregard for human life, families,

including the Ingasiana family, have mourned the loss of a loved one whose life should never have

been put at risk. Families of the decedents were given soil from the crash site as they could not

bury their loved ones because the bodies were burnt beyond recognition. Punitive damages should

be awarded in this case to punish and deter Boeing and others from taking these kinds of risks with

people’s lives again.



                                               COUNT I
                        Strict Liability: Design Defect, The Boeing Company

        114.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        115.    Boeing designed, manufactured, distributed and/or sold the Boeing 737 Max 8, and

its components parts, involved in the incident. Defendants were in the business of designing,

testing, manufacturing, selling, assembling, building, distributing, marketing and/or inspecting

aircraft as suitable for passenger transportation, including the subject Boeing 737 Max 8, and its

component parts, that crashed in Ethiopia on March 10, 2019.

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       116.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 aircraft,

and its component parts, was being operated by Ethiopian Airlines and used for the purposes of

which it was manufactured, designed, inspected, sold and intended to be used, in a manner

reasonably foreseeable to Boeing.

       117.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8, and its

component parts, were defective, dangerous, unsafe, and not airworthy by reason of Boeing’s

defective manufacture, design, warning systems, inspections, testing, service, and/or maintenance

of the subject aircraft, and its component parts, as set forth above. The aircraft, and its component

parts, were in substantially similar condition to its original condition at delivery to Ethiopian

Airlines.

       118.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       119.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       120.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.




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       121.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       122.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of

the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

       123.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

       124.    Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing financial



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condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiff requests judgment against Defendant THE BOEING COMPANY

for compensatory damages, punitive damages, costs, fees, and all other awards deemed just. The

plaintiffs further demand a trial by jury of all issues triable as of right by a jury.

                                     COUNT II
      Strict Liability: Defect in Warnings / Instructions, The Boeing Company

        125.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        126.    Defendant Boeing designed, manufactured, distributed and/or sold the Boeing 737

Max 8 involved in the incident. Defendant Boeing was in the business of designing, testing,

manufacturing, selling, assembling, building, distributing, marketing and/or inspecting aircraft as

suitable for passenger transportation, including the subject Boeing 737 Max 8 that crashed in

Ethiopia on March 10, 2019.

        127.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 aircraft

was being operated by Ethiopian Airlines and used for the purposes of which it was manufactured,

designed, inspected, sold and intended to be used, in a manner reasonably foreseeable to Defendant

Boeing.

        128.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 was

defective, dangerous, unsafe, and not airworthy by reason of Defendant Boeing’s defective

manufacture, design, warning systems, inspections, testing, service, and/or maintenance of the

subject aircraft as set forth above.

        129.    At all times relevant hereinabove set forth, Boeing had knowledge that the subject

Boeing 737 Max 8 was defective, dangerous, unsafe, and not airworthy, and in particular, Boeing

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had knowledge of the unreasonably unsafe design of the AOA sensor and automated MCAS, as

well as the potential life and death risks of such a failure in these systems.

       130.    At all times relevant hereinabove set forth, the risks of failure of the Boeing 737

Max 8 due the aircraft’s unreasonably dangerous and defective design presented a substantial

danger when the aircraft is used or misused in an intended or reasonably foreseeable way.

       131.    Ordinary consumers, including but not limited to airlines, flight crew, and

passengers, would not have recognized the potential risks presented by the aircraft’s unreasonably

dangerous and defective design.

       132.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       133.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       134.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       135.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.




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       136.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots in the regarding the

performance of the MCAS, the lack of clear instruction and training, and the incidence of

unexpected MCAS dives and flight control issues; and Boeing’s identification of a software

upgrade to address problems with the AOA sensors and MCAS in the weeks and months prior to

the crash of Flight 302.

       137.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

       138.    Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights      and/or safety of others, such

that Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.



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        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING COMPANY

for compensatory damages, punitive damages, costs, fees, and all other awards deemed just. The

plaintiffs further demand a trial by jury of all issues triable as of right by a jury.

                                     COUNT III
                       Breach of Warranty, The Boeing Company

        139.    PLAINTIFFS incorporate and re-allege each of the paragraphs set forth above as

though fully set forth herein.

        140.    BOEING was the designer, manufacturer, distributor and/or seller of the Boeing

737 MAX 8, and/or its component parts, involved in the subject crash.

        141.    Prior to the crash of Flight 302, BOEING expressly and/or impliedly warranted

and represented that the subject aircraft (the BOEING 737 MAX 8) including its component parts

and instruments, and in conjunction with the instructions and warnings given by BOEING, was

airworthy, of merchantable quality, both fit and safe for the purpose of commercial air travel for

which it was designed, intended and used. Additionally, BOEING further warranted that the

subject aircraft, and its component parts, was free from all defects.

        142.    BOEING breached said warranties in that the subject aircraft was not airworthy,

of merchantable quality, or fit and safe for the purposes for which it was designed, intended and

used, and free from all defects as set forth above. The aircraft, and its component parts, were in

substantially similar condition to its original condition at delivery to ETHOPIAN AIRLINES.

        143.    DECEDENT, as a passenger of Flight 302, was an intended third-party beneficiary

of BOEING’s warranties that Flight 302 (the BOEING 737 MAX 8 and its component parts) was

airworthy, of merchantable quality, both fit and safe for the purposes for which it was designed,

intended and used, and free from all defects.

        144.    DECEDENT reasonably relied on these warranties to DECEDENT’s detriment.

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       145.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFFS have been damaged by the death of DECEDENT.

       146.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFFS suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       147.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFFS incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       148.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFFS suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       149.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification




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of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

        150.       As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFFS have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to all PLAINTIFFS and the

imposition of all damages described above.

        151.       Based on the foregoing, BOEING, acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFFS request that the trier of fact, in the exercise of sound discretion, award

PLAINTIFFS additional damages for the sake of example and sufficient to punish BOEING, for

its despicable conduct, in an amount reasonably related to PLAINTIFFS’ actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                         COUNT IV
                               Negligence, The Boeing Company

        152.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.




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       153.    At all relevant times hereinabove set forth, Defendant Boeing was the designer,

manufacturer, distributor and/or seller of the Boeing 737 Max 8 aircraft. Defendant Boeing was, at

all times relevant, in the business of designing, testing, manufacturing, selling, assembling,

building, distributing, marketing and/or inspecting aircraft as suitable and safe for passenger

transportation, including the subject Boeing 737 Max 8 that crashed in Ethiopia on March 10, 2019.

       154.    At all relevant times hereinabove set forth, Defendant Boeing operated, supervised,

managed and/or oversaw the training and instruction of all Max 8 pilots and knew or should have

known that the pilots of Ethiopian Airlines Flight 302 could not safely fly the Max 8.

       155.    At all times hereinabove set forth, Boeing breached its duty of care to Decedent as

a passenger aboard Flight 302 with respect to the design, manufacture, inspection, testing,

assembly, certification, distribution, and/or sale of a safe, airworthy aircraft; including the failure

to train, instruct, and/or issue advisory warnings necessary to assure the safe operation, control,

management and/or maintenance of the aircraft. Boeing’s acts and/or omissions include, but are

not limited to the following:

               a. Designing, manufacturing, assembling and/or certifying an aircraft with an anti-
                  stall system controlled by a single AOA sensor instead of two; or
               b. Designing manufacturing, assembling and/or certifying an aircraft with an anti-
                  stall system which was susceptible to failure without redundant systems; or
               c. Designing, manufacturing, assembling and/or certifying an aircraft with a flight
                  control system susceptible to bad data from the AOA sensor, and failing to
                  install AOA indicators and/or AOA disagree lights as standard features rather
                  than optional upgrades; or
               d. Designing, manufacturing, assembling and/or certifying an aircraft with a flight
                  control system that would initiate a dangerous automated dive without any
                  command from a pilot and without a means to promptly override the automated
                  dive; or
               e. Marketing and selling the 737 Max 8 as an analog to Boeing’s 737NG to
                  consciously and intentionally induce airlines to avoid the time-consuming
                  retraining of airline pilots with the knowledge that the Max 8 contained a new
                  and potentially dangerous MCAS automated flight control system; or

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              f. Failing to provide adequate warning with regard to the 737 Max 8’s MCAS and
                 the risk of an automated dive without any command from a pilot, or clear
                 instruction to promptly override such an MCAS automated dive; or
              g. Failing to conduct a thorough and accurate safety assessment of the aircraft,
                 including Boeing’s failure in its safety assessment to account for the degree to
                 which the MCAS could move the horizontal stabilizer of the aircraft and failure
                 to account for the resetting of the automated dive after each command from a
                 pilot; or
              h. Failing to properly train pilots on the new automated MCAS systems on the 737
                 Max 8; or
              i. Failing to properly train pilots to identify an AOA sensor failure and MCAS
                 input; or
              j. Failing to properly train pilots to disengage the stabilizer trim motor on the 737
                 Max 8 in the event of an AOA sensor failure or unanticipated dive; or
              k. Designing, assembling, and distributing a flight manual that did not warn of the
                 risks presented by the MCAS, faulty AOA sensors, or automated dives; or
              l. Designing, manufacturing, assembling and/or certifying an airplane flight
                 manual that failed to provide clear instruction or procedures on how to promptly
                 override an automated MCAS dive; or
              m. Failing to promptly issue a software patch to address the risk of malfunctioning
                 AOA sensors and automated MCAS dives following the October 29, 2018 crash
                 of Lion Air Flight JT 610; or
              n. Failing to ground all 737 Max 8 aircraft following the crash of Lion Air Flight
                 JT 610 until such a software patch and/or other safety procedures could be
                 implemented; or
              o. Failing to properly warn pilots, airlines, and the public of the risk of
                 malfunctioning AOA sensors and automated MCAS dives following the crash
                 of Lion Air Flight JT 610.
       156.   As a direct and legal result of Defendant Boeing’s negligence, carelessness, gross

negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set forth,

Decedent died in the crash of Flight 302.

       157.   As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.




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       158.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       159.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       160.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       161.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of

the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

       162.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral



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blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

        163.       Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                          COUNT V
                            Civil Conspiracy, The Boeing Company

        164.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        165.       Defendant Boeing entered into an agreement with the FAA, and its agents,

employees, and/or directors, and/or other persons and/or entities to accomplish by concerted action

either an unlawful purpose or a lawful purpose by unlawful means.

        166.       Boeing and its co-conspirators committed tortious and/or unlawful acts in

furtherance of this agreement, including but not limited to, deceiving the public as to the safety of

the 737 Max 8 aircraft and its component parts and systems, certifying the aircraft and the MCAS

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as safe based upon false and/or inaccurate information, failing to provide clear instruction in flight

manuals or informing pilots as to automated systems embedded in the 737 Max 8 aircraft, denying

technical experts the necessary time or resources to thoroughly evaluate the 737 Max 8 aircraft,

and compelling technical experts to certify the aircraft despite their concerns about the safety of

the 737 Max 8, all in violation of applicable laws, regulations, and mandatory duties.

       167.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       168.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       169.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       170.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       171.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed



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potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of

the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

        172.       As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

        173.       Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.




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                                       COUNT VI
                            Negligence, Rosemount Aerospace

        174.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        175.    At all relevant times hereinabove set forth, Defendant Rosemount owed a duty to

the occupants of Boeing’s 737 Max 7 aircraft and the general public, including the Decedent, to

exercise reasonable care to properly develop, design, engineer, test, manufacture, produce, process,

supply, deliver, monitor, market, label, adequately warn, recommend, advertise and/or sell angle

of attack sensors, and/or refrain from introducing area of attack sensors into the stream of

commerce and for the use in 737 Max aircraft, including the subject aircraft.

        176.    The defective conditions in the Angle of Attack sensor, as discussed above, and the

consequent crash of Flight 302 were legally caused by the negligence, gross negligence,

wrongdoing, tortious conduct, careless acts and omissions of Defendant Rosemount in the

development, design, engineering, testing, manufacturing, production, processing, supplying,

delivery, monitoring, marketing, labeling, and selling, and Rosemount’s failure to warn and

failure to take remedial appropriate remedial action with respect to any and all known dangerously

defective conditions.

        177.    As a direct and legal result of Defendant Rosemount’s negligence, carelessness,

gross negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set

forth, Decedent died in the crash of Flight 302.

        178.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.




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        179.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Rosemount, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from Decedent, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

        180.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

        181.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant ROSEMONT

AEROSPACE, INC. for compensatory damages, punitive damages, costs, fees, and all

other awards deemed just. The plaintiffs further demand a trial by jury of all issues triable

as of right by a jury.

                                       COUNT VII
                             Strict Liability, Rosemount Aerospace

        182.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        183.    At all relevant times hereinabove set forth, Defendant Rosemount was the

designer, manufacturer, engineer, distributor and/or seller of aerospace products, including Angle

of Attack sensors, who hold and have held themselves out to the public as having superior

knowledge, skill and expertise in the design, testing, engineering, manufacture, and distribution of

aerospace sensors for commercial aircraft and, in the course of its business, Defendant Rosemount

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designed, tested, manufactured, engineered and caused to be placed into the stream of

commerce, a product known as an Angle of Attack sensor for utilization in the Boeing 737 Max 8

aircraft.

        184.   Defendant Rosemount expressly or impliedly warranted that the Angle of Attack

sensor was fit for its intended use in commercial aircraft, being free of defects in their design

and/or maintenance and, further, Defendant Rosemount marketed, sold, distributed, and caused

to be introduced into the stream of commerce by sale to Defendant Boeing. The Angle of Attack

sensor was in substantially similar condition to its original condition at delivery to Boeing.

        185.   Defects in the Angle of Attack sensor were a legal cause of the subject air crash,

and the defects made the subject aircraft unreasonably dangerous for travel.

        186.   As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

        187.   As a direct and legal result of the wrongful acts and/or omissions of Defendant

Rosemount, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from Decedent, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

        188.   As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.




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        189.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant ROSEMONT

AEROSPACE, INC. for compensatory damages, punitive damages, costs, fees, and all

other awards deemed just. The plaintiffs further demand a trial by jury of all issues triable

as of right by a jury.




                                          COUNT VIII
                                  Negligence, Collins Aerospace

        190.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        191.    At all relevant times hereinabove set forth, Defendant Collins owed a duty to the

occupants of Boeing’s 737 Max 7 aircraft and the general public, including the Decedent, to

exercise reasonable care to properly develop, design, engineer, test, manufacture, produce, process,

supply, deliver, monitor, market, label, adequately warn, recommend, advertise and/or sell the

MCAS system and its software and/or refrain from introducing the MCAS system into the stream

of commerce and for the use in 737 Max aircraft, including the subject aircraft.

        192.    The defective conditions in the MCAS system and its software as discussed above,

and the consequent crash of Flight 302 were legally caused by the negligence, gross negligence,

wrongdoing, tortious conduct, careless acts and omissions of Defendant Collins in the

development, design, engineering, testing, manufacturing, production, processing, supplying,

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delivery, monitoring, marketing, labeling, and selling, and Collins’s failure to warn and failure to

take remedial appropriate remedial action with respect to any and all known dangerously defective

conditions.

       193.    As a direct and legal result of Defendant Collins’s negligence, carelessness, gross

negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set forth,

Decedent died in the crash of Flight 302.

       194.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       195.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Collins, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       196.    As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       197.    As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       WHEREFORE, Plaintiffs request judgment against Defendant COLLINS

AEROSPACE for compensatory damages, punitive damages, costs, fees, and all other




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awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                              COUNT IX
                                   Strict Liability Collins Aerospace

        198.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        199.       At all relevant times hereinabove set forth, Defendant Collins was the designer,

programmer, manufacturer, engineer, distributor and/or seller of aerospace products, including the

MCAS system and its software who hold and have held themselves out to the public as having

superior knowledge, skill and expertise in the design, testing, engineering, manufacture, and

distribution of MCAS systems and software for commercial aircraft and, in the course of its

business, Defendant Collins designed, programmed, tested, manufactured, engineered and

caused to be placed into the stream of commerce, a product known as the MCAS system and its

software for utilization in the Boeing 737 Max 8 aircraft.

        200.       Defendant Collins expressly or impliedly warranted that the MCAS system and its

software was fit for its intended use in commercial aircraft, being free of defects in their design

and/or maintenance and, further, Defendant Collins marketed, sold, distributed, and caused to be

introduced into the stream of commerce by sale to Defendant Boeing. The MCAS system and its

software was in a substantially similar condition to its original condition at delivery to Boeing.

        201.       Defects in the MCAS system and its software were a legal cause of the subject air

crash, and the defects made the subject aircraft unreasonably dangerous for travel.

        202.       As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

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        203.       As a direct and legal result of the wrongful acts and/or omissions of Defendant

Collins, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

        204.       As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

        205.       As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant COLLINS

AEROSPACE for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.



                                                        /s/ Joseph A. Power, Jr.
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                               Exhibit C
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

KEVIN J. CONWAY as Special                     )
Administrator for the ESTATE OF AL             )
MARHUM HUSSEIN SWALEH M TETU,                  )
deceased,                                      )
                           Plaintiff,          )       NO.     1:19-cv-4076
                                               )
               v.                              )
                                               )
THE BOEING COMPANY, a Delaware                 )       Plaintiff Demands Trial by Jury
Corporation; and ROSEMOUNT                     )
AEROSPACE, INC, a Delaware                     )
Corporation; and ROCKWELL COLLINS,             )
INC., a Delaware corporation and HAMILTON )
SUNDSTRAND CORPORATION d/b/a UTC )
AEROSPACE SYSTEMS, a Delaware                  )
corporation, collectively with ROCKWELL )
COLLINS, INC d/b/a COLLINS                 )
AREOSPACE,                                 )
                                           )
                               Defendants. )
____________________________________)

                                     COMPLAINT AT LAW

       Plaintiff KEVIN J. CONWAY, as Special Administrator for the for the ESTATE OF AL

MARHUM HUSSEIN SWALEH M TETU, deceased, by and through their attorneys, POWER

ROGERS & SMITH, LLP, FRIEDMAN RUBIN PLLP, and SHAKESPEAR FEYISSA, files this

Complaint pursuant to the Wrongful Death Act of Illinois, 740 ILCS 180/2.1, against the above-

named Defendants (hereinafter referred to as “Boeing,” “Rosemount” and “Collins”), and states

as follows:

                                             PARTIES

       1.      This is an action for damages pursuant to the Illinois Wrongful Death Act, 740 Ill.

Comp. Stat. 180/1 et seq., Illinois Product Liability Act, 735 Ill. Comp. Stat. 5/13-213, or any other

applicable law, based on the defective design and the inadequate warnings of the Boeing 737 Max.


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          2.   Kevin J. Conway has been appointed as the Special Administrator for the Estate of

Al Marhum Hussein Swaleh M Tetu, pursuant to 740 ILCS 180/2.1. See Exhibit A.

          3.   Al Marhum Hussein Swaleh M Tetu died in the crash of Ethiopian Airlines Flight

302 on March 10, 2019.

          4.   The Decedent’s only surviving heirs are: his spouse, Abuda Munira Abdul Karim

and his ten children Feisal Husein Swaleh, Ashraf Hussein Swaleh, Ramadhan Hussein Abdi,

Mariam Hussein Swaleh, Swaleh Hussein Swaleh, Iqrah Hussein Swaleh, Shufaa Hussein Swaleh,

Raniya Hussein Swaleh, Harun Hussein Swaleh, Eshe Hussein Swaleh and his second wife under

Islamic law Mwanaisha Wanjira Ramadhan.

          5.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a)(2) based

on diversity of citizenship because the matter in controversy exceeds the sum or value of $75,000,

inclusive of interest and costs, and arises between citizens of U.S. states and citizens of foreign

states.

          6.   Venue is proper in the Northern District of Illinois: pursuant to 28 U.S.C.

§1391(b)(1) because Boeing is and has, at all relevant times, been a citizen and resident of the

State of Illinois. Boeing’s corporate headquarters and principal place of business are located in this

judicial district at 100 North Riverside, Chicago, Cook County, Illinois 60606; At all relevant

times, Defendant Boeing Company is a Delaware corporation with its principal place of business

and corporate headquarters in Chicago, Illinois. Boeing has been authorized to do business and has

been transacting or conducting business within the State of Illinois. See 735 Ill. Comp. Stat. 5/2-

209(b)(4).

          7.   At all times relevant to this complaint, Defendant Boeing was engaged in the

business of designing, manufacturing, assembling, testing, servicing, marketing, promoting,



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leasing and selling commercial aircrafts as well as providing information and warnings about such

aircrafts, including the aircraft at issue, the Boeing 737 Max.

        8.     Pursuant to 28 U.S.C. §1391(b)(3) because Rosemount transacted and continues to

transact regular and substantial business with Chicago-based Boeing in Cook County, Illinois; and

pursuant to 28 U.S.C. §1391(b)(2) was engaged in the business of designing, manufacturing,

assembling, testing, servicing, marketing, promoting, and supplying as well as providing

information and warnings about the Angle of Attack sensor (“AOA sensor”) which was affixed to

the aircraft at issue, the Boeing 737 Max.

        9.     Pursuant to 28 U.S.C. §1391(b)(3) ROCKWELL COLLINS, INC., a Delaware

corporation and HAMILTON SUNDSTRAND CORPORATION d/b/a UTC AEROSPACE

SYSTEMS, a Delaware corporation, collectively with ROCKWELL COLLINS, INC d/b/a

COLLINS AREOSPACE, (herein referred to as “Collins”), Avionics Division, formerly known as

Rockwell Collins, is located in Cedar Rapids, Iowa and may be served with process through any

of its directors at its principal office located at 14300 Judicial Road, Burnsville, Minnesota, 55306-

4898.

        10.    At all times relevant to this complaint, Defendant Collins was engaged in the

business of designing, programming, manufacturing, assembling, testing, servicing, marketing,

promoting, and supplying as well as providing information and warnings about the Maneuvering

Characteristics Augmentation System (“MCAS system”) which was installed on the aircraft at

issue, the Boeing 737 Max.

                                              FACTS

        11.    The facts of this case highlight a series of actions taken by Boeing to put profit over

the lives of children, women and men. In an effort to compete with Airbus’s new fuel-efficient

Neo aircraft, Defendant Boeing rushed an aircraft to market that was not airworthy and then

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concealed its defects in order to sell more airplanes. That aircraft is the Boeing 737 Max 8 (“Max

8”).

           12.     Boeing opted to build the Max 8 because it would be quicker, easier, and cheaper

than starting from scratch, and would provide fuel savings for airlines. 1

           13.     Boeing produced sloppy blueprints for the Max 8 and told a technician that

instructions would be cleaned up later in the process.

           14.     Boeing set a ground rule for engineers: Limit changes to hopefully avert a

requirement that pilots spend time training in a flight simulator before flying the Max 8.

           15.     Boeing marketed the Max 8 to airlines telling them that it will also reduce costs on

training pilots who already were licensed to fly the Boeing 737. 2

           16.     Boeing trained the Max 8 pilots using an iPad.

           17.     To improve the fuel efficiency of their new jet, Boeing put new engines on the Max

8.

           18.     The new engines were bigger than the 737 NG engines and Boeing had to change

the mounting point of the engine.

           19.     Boeing put the Max 8 engines further forward and higher on the wings than on the

737 NG.

           20.     The different mounting point made the Max 8 prone to aerodynamic stall. The

engine positions on the wings gives the Max 8 a tendency to pitch up under high power.




1
    https://www.nytimes.com/2019/03/23/business/boeing-737-max-crash.html
2
    https://www.aviationcv.com/aviation-blog/2019/shocking-facts-boeing-737max-crash


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       21.     In order to prevent an aerodynamic stall Boeing and Collins Aerospace developed

software which told the flight control system to change its angle of attack downward if a stall risk

is perceived. This is known as Maneuvering Characteristics Augmentation System (“MCAS”).

       22.     On the Max 8, if a stall risk is perceived the computer on the aircraft automatically

initiates a downward pitch angle.

       23.     Boeing intentionally omitted information about the MCAS system from its Max 8

flight manual and training materials, leaving pilots ignorant of its very existence.

       24.     An Angle of Attack (AOA) sensor, designed and manufactured by Rosemount, was

affixed to the Max 8 and designed to tell the flight control system if a stall risk is perceived. The

Rosemount AOA sensor was prone to failure and to providing false data.

       25.     Boeing intentionally designed the flight control system to rely upon data from one

single sensor on the Max 8 in order to prevent more in-depth training, making it easier to sell its

aircraft to airlines. Boeing’s selling point was that the Max 8 would only require “distance

learning” using an iPad, with no down time for crew to train on simulators.

       26.     Boeing provided some airlines with an “optional” feature allowing the flight control

system to obtain information from two different AOA sensors. In this optional configuration if one

AOA sensor receives data that does not agree with data received by the other sensor, the MCAS

does not command a pitch down of the aircraft.

       27.     In a Max 8 configured in the standard manner there are two AOA sensors but the

Flight Control System only receives data from one AOA sensor. But if one AOA sensor receives

bad data, falsely indicating a stall, the aircraft will pitch nose down and can crash.

       28.     The subject aircraft did not contain the optional feature. It relied upon data from

one AOA sensor even though it had two AOA sensors.



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     29.    The angle of attack sensor is depicted below:




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         30.   The horizontal stabilizer on the Max 8 is positioned by a single electric trim motor

controlled through either the stab trim switches on the control wheel, autopilot trim or through the

MCAS system. The stabilizer may also be positioned by manually rotating the stabilizer trim

wheel.

         31.   Switches on each control wheel actuate the electric trim motor through the main

electric stabilizer trim circuit when the aircraft is flown manually. With the autopilot engaged,

stabilizer trim is accomplished through the autopilot stabilizer trim circuit. The main electric and

autopilot stabilizer trim have two speed modes: high speed with flaps extended and low speed with

flaps retracted. If the autopilot is engaged, actuating either pair of stabilizer trim switches

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automatically disengages the autopilot. The stabilizer trim wheels rotate whenever electric

stabilizer trim is actuated.

        32.     The STAB TRIM PRI cutout switch and the STAB TRIM B/U cutout switch on the

Max 8 are located on the control stand. If either switch is positioned to CUTOUT, both the

autopilot and main electric trim inputs are disconnected from the stabilizer trim motor.

        33.     The control column actuated stabilizer trim cutout switches on the Max 8 stop

operation of the main electric and autopilot trim when the control column movement opposes trim

direction. This is not true for pitch commands for the MCAS. When the STAB TRIM override

switch is positioned to OVRD, electric trim can be used regardless of control column position.

        34.     Pitch trim is controlled by changing the pitch of the horizontal stabilizer. Changing

pitch of the horizontal stabilizer can place large pitch forces on the aircraft. When applied

appropriately, these forces can keep the aircraft in balance. When applied inappropriately, they

can make the aircraft difficult to handle.

        35.     Forces generated by the horizontal stabilizer from an out of trim condition can

exceed the forces that can be generated by the elevator.

        36.     It is possible on the Max 8, to have an out of trim condition that when countered by

elevator control inputs from the crew, puts enough load on the pitch trim mechanism that it

essentially jams the pitch trim control. Manual trim cannot overcome this load on the mechanism.

        37.     The elevator is a smaller control surface when compared to the surface area of the

controllable horizontal stabilizer.

        38.     This scenario is depicted by the illustration below:




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       39.     Electric trim works in a narrower range of motion than manual trim. If the stabilizer

is out of trim and outside the range of electric trim operation, only manual trim can be used.

       40.     In addition to its failure to warn, create a provide instructions to pilot and train

pilots on the MCAS system and how to override the Flight Control System when it is provided

with false AOA data, Boeing designed a pitch trim control system that is capable of jamming.

                      CRASH OF ETHIOPIAN AIRLINES FLIGHT 302

       41.     On March 10, 2019 AL MARHUM HUSSEIN SWALEH M TETU was a fare

paying passenger onboard a Boeing 737-8 (Max) aircraft, ET-AVJ, Serial Number 62450, with an

intended destination of Nairobi, Kenya.

       42.     At 05:38 UTC, Ethiopian Airlines flight 302, Boeing 737-8(Max), ET-AVJ, took

off from Addis Ababa Bole Int. Airport bound to Nairobi, Kenya Jomo Kenyatta Int. Airport.

Shortly after takeoff, the Angle of Attack sensor that recorded that value became erroneous and

the left stick shaker activated and remained active until near the end of the flight. In addition, the

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airspeed and altitude values from the left air data system began deviating from the corresponding

right side values. The Captain requested to return back to the departure airport. The aircraft crashed

at 5:44 UTC 28 NM South East of Addis Ababa near Ejere village. There were 157 passengers

and crew on board. All were fatally injured, and the aircraft was destroyed.

       43.     Just one minute into the flight the Captain, Yared Getachew, reported that the crew

was having flight-control problems. The anti-stall system then kicked in and pushed the nose of

the aircraft down for nine seconds. Instead of climbing, the aircraft descended slightly. Audible

warnings — “Don’t Sink” — sounded in the cockpit. The pilots fought to turn the nose of the plane

up, and briefly they were able to resume climbing. The MCAS system pushed the nose down again,

triggering more squawks of “Don’t Sink” from the plane’s ground-proximity warning system. The

pilots then flipped two switches and disconnected the anti-stall system, then tried to regain control.

They asked to return to the airport but were continuing to struggle getting the aircraft to gain

altitude. Power to controls was returned. The MCAS engaged again, pushing the plane into a nose

dive. Thirty seconds later the cockpit voice recording ended, the plane crashed, and all 157 people

on board were killed. The aircraft’s impact created a 30 meter deep crater.

       44.     According to a preliminary report issued by the Ethiopian Aircraft Accident

Investigation Bureau, the following is what occurred, minute by minute.

       45.     At 05:38:44, shortly after liftoff, the left and right recorded AOA values deviated.

The left AOA decreased to 11.1 degrees then increased to 35.7 degrees while the value of the right

AOA indicated 14.94 degrees. Then the left AOA value reached 74.5 degrees in ¾ seconds while

the right AOA reached a maximum value of 15.3 degrees. At this time, the left stick shaker

activated and remained active until near the end of the recording. Also, the airspeed, altitude and




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flight director pitch bar values from the left side noted deviating from the corresponding right side

values. The left side values were lower than the right side values until near the end of the recording.

       46.     At 05:38:43 and about 50 ft radio altitude, the flight director roll mode changed to

LNAV. At 05:38:46 and about 200 ft radio altitude, the Master Caution parameter changed state.

The First Officer called out Master Caution Anti-Ice on CVR. Four seconds later, the recorded

Left AOA Heat parameter changed state.

       47.     At 05:38:58 and about 400 ft radio altitude, the flight director pitch mode changed

to VNAV SPEED and the Captain called out “Command” (standard call out for autopilot

engagement) and an autopilot warning is recorded. At 05:39:00, the Captain called out

“Command”. At 05:39:01 and about 630 ft radio altitude, a second autopilot warning is recorded.

       48.     At 05:39:06, the Captain advised the First-Officer to contact radar and the First

Officer reported SHALA 2A departure crossing 8400 ft and climbing FL 320. Between liftoff and

1000 ft above ground level (AGL), the pitch trim position moved between 4.9 and 5.9 units in

response to manual electric trim inputs. At 1000 ft AGL, the pitch trim position was at 5.6 units.

At 05:39:22 and about 1,000 feet the left autopilot (AP) was engaged (it disengaged about 33

seconds later), the flaps were retracted and the pitch trim position decreased to 4.6 units. Six

seconds after the autopilot engagement, there were small amplitude roll oscillations accompanied

by lateral acceleration, rudder oscillations and slight heading changes. These oscillations continued

also after the autopilot was disengaged. At 05:39:29, radar controller identified ET-302 and

instructed to climb FL 340 and when able right turns direct to RUDOL and the First-Officer

acknowledged.

       49.     At 05:39:42, Level Change mode was engaged. The selected altitude was 32000 ft.

Shortly after the mode change, the selected airspeed was set to 238 kt.



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       50.     At 05:39:45, the Captain requested flaps up and the First-Officer acknowledged.

One second later, the flap handle moved from 5 to 0 degrees and flaps retraction began. At

05:39:50, the selected heading started to change from 072 to 197 degrees and at the same time the

Captain asked the First-Officer to request to maintain runway heading.

       51.     At 05:39:55, Autopilot disengaged, at 05:39:57, the Captain advised the First-

Officer to request to maintain runway heading and that they were having flight control problems.

At 05:40:00 shortly after the autopilot disengaged, the FDR recorded an automatic aircraft nose

down (AND) activated for 9.0 seconds and pitch trim moved from 4.60 to 2.1 units. The climb

was arrested and the aircraft descended slightly.

       52.     At 05:40:03 the Ground Proximity Warning System (GPWS) “DON’T SINK”

alerts occurred. At 05:40:05, the First-Officer reported to ATC that they were unable to maintain

SHALA 1A and requested runway heading which was approved by ATC.

       53.     At 05:40:06, left and right flap position reached a recorded value of 0.019 degrees

which remained until the end of the recording. The column moved aft and a positive climb was re-

established during the automatic AND motion. At 05:40:12, approximately three seconds after

AND stabilizer motion ends, electric trim (from pilot activated switches on the yoke) in the Aircraft

nose up (ANU) direction is recorded on the DFDR and the stabilizer moved in the ANU direction

to 2.4 units. The Aircraft pitch attitude remained about the same as the back pressure on the column

increased.

       54.     At 05:40:20, approximately five seconds after the end of the ANU stabilizer

motion, a second instance of automatic AND stabilizer trim occurred and the stabilizer moved

down and reached 0.4 units.




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       55.     From 05:40:23 to 05:40:31, three Ground Proximity Warning System (GPWS)

“DON’T SINK” alerts occurred.

       56.     At 05:40:27, the Captain advised the First-Officer to trim up with him. At 05:40:28

Manual electric trim in the ANU direction was recorded and the stabilizer reversed moving in the

ANU direction and then the trim reached 2.3 units.

       57.     At 05:40:35, the First-Officer called out “stab trim cut-out” two times. The Captain

agreed and the First Officer confirmed stab trim cut-out. At 05:40:41, approximately five seconds

after the end of the ANU stabilizer motion, a third instance of AND automatic trim command

occurred without any corresponding motion of the stabilizer, which is consistent with the stabilizer

trim cutout switches were in the ‘’cutout’’ position.

       58.     At 05:40:44, the Captain called out three times “Pull-up” and the First-Officer

acknowledged. At 05:40:50, the Captain instructed the First Officer to advise ATC that they would

like to maintain 14,000 ft and they had a flight control problem. At 05:40:56, the First-Officer

requested ATC to maintain 14,000 ft and reported that they were having a flight control problem.

ATC approved.

       59.     From 05:40:42 to 05:43:11 (about two and a half minutes), the stabilizer position

gradually moved in the AND direction from 2.3 units to 2.1 units. During this time, aft force was

applied to the control columns which remained aft of neutral position. The left indicated airspeed

increased from approximately 305 kt to approximately 340 kt (VMO). The right indicated airspeed

was approximately 20-25 kt higher than the left. The data indicates that aft force was applied to

both columns simultaneously several times throughout the remainder of the recording.

       60.     At 05:41:20, the right overspeed clacker was recorded on Cockpit Voice Recorder.

It remained active until the end of the recording. At 05:41:21, the selected altitude was changed



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from 32000 ft to 14000 ft. At 05:41:30, the Captain requested the First-Officer to pitch up with

him and the First-Officer acknowledged.

       61.     At 05:41:32, the left overspeed warning activated and was active intermittently

until the end of the recording. At 05:41:46, the Captain asked the First-Officer if the trim was

functional. The First-Officer has replied that the trim was not working and asked if he could try it

manually. The Captain told him to try.

       62.     At 05:41:54, the First-Officer replied that it was not working. At 05:42:10, the

Captain asked and the First-Officer requested a vector to return and ATC approved.

       63.     At 05:42:30, ATC instructed ET-302 to turn right heading 260 degrees and the

First-Officer acknowledged. At 05:42:43, the selected heading was changed to 262 degrees. At

05:42:51, the First-Officer mentioned Master Caution Anti-Ice. The Master Caution is recorded

on DFDR.

       64.     At 05:42:54, both pilots called out “left alpha vane”. At 05:43:04, the Captain asked

the First Officer to pitch up together and said that pitch is not enough. At 05:43:11, about 32

seconds before the end of the recording, at approximately 13,4002 ft, two momentary manual

electric trim inputs are recorded in the ANU direction. The stabilizer moved in the ANU direction

from 2.1 units to 2.3 units.

       65.     At 05:43:20, approximately five seconds after the last manual electric trim input,

an AND automatic trim command occurred and the stabilizer moved in the AND direction from

2.3 to 1.0 unit in approximately 5 seconds. The aircraft began pitching nose down. Additional

simultaneous aft column force was applied, but the nose down pitch continued, eventually reaching

40 degrees nose down. The stabilizer position varied between 1.1 and 0.8 units for the remainder

of the recording. The left Indicated Airspeed increased, eventually reaching approximately 458 kts



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and the right Indicated Airspeed reached 500 kts at the end of the recording. The last recorded

pressure altitude was 5,419 ft on the left and 8,399 ft on the right.

       66.     Data from the Flight Data Recorder on the aircraft can be seen below:




                                     BACKGROUND FACTS

       67.     Prior to the loss of all One Hundred and Fifty-Seven (157) lives in the Ethiopian

Airlines Crash of March 10, 2019 Boeing was put on notice that its Max 8 aircraft was defective

and dangerous and concealed these defects in order to sell more of the Max 8 airplanes.

       68.     Boeing was put on notice time and time again that the Max 8 was unreasonably

dangerous but failed to rectify the flawed design, failed to provide adequate working sensors or

software fixes, failed to provide working warnings or alarms, failed to install, design or retrofit its

aircraft with adequate sensors and failed to provide adequate warnings or training about the danger.

For Example:

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          69.      Max 8 Danger Warning Number 1: In 2006 the Future Aviation Safety Team

(“FAST”) published a 50 page study on “Increasing Reliance on Flight Deck Automation,” after

conducting a pilot survey among more than 190 pilot respondents, with a mean of 10,000 flying
                                             3
hours and 20 years in the business.              The top five hazards FAST identified with emerging

autonomous flight systems included the following four out of five hazards all of which are

applicable to the Max 8 MCAS and AOA sensor system:

                a. Failure of the flight crew to remain aware of automation mode and aircraft energy

                   state;

                b. Unfamiliar modes of aircraft automation may result in a perfectly normal flying

                   aircraft suddenly taking on characteristics that the pilot has seldom or never

                   previously encountered;

                c. Latent flaws in the displays or primary flight control system may go undetected,

                   because not enough human-in-the-loop testing is performed;

                d. Pilots may not be adequately trained to understand the philosophy of the automation

                   design when the functionality is being automatically degraded in particular

                   situations for reasons known only to the software.

          70.      Despite the 2006 FAST report Boeing designed and used an automated flight

system that it did not disclose to pilots. It used data from a single sensor that caused the aircraft to

take on characteristics that the pilot did not previously encounter. Boeing intentionally did not

train pilots to have notice that the aircraft might take on such characteristics nor what to do about

it.




3
    https://www.nlr.org/wp-content/uploads/2018/11/FAST-AC13-Hazard-Summary.pdf

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         71.    Boeing designed an MCAS system with no Human in the Loop. HITL is defined as

a model that requires human interaction. In HITL systems a human is always part of the simulation

and consequently influences the outcome in such a way that is difficult to reproduce. Boeing failed

to adequately train pilots about the existence of MCAS and then failed to inform pilots about how

the system worked such that they could interact with it or override it.

         72.    Max 8 Safety Notice Number 2: The crash of Turkish Airlines Flight 1951 in

2009, ten years prior to the Ethiopian Airlines Crash, demonstrated the risks of an automated flight-

control system relying on data from a single sensor. 4

         73.    Investigators of the 2009 crash of a Turkish Airlines jet identified a faulty altitude

sensor that thought the plane was closer to the ground than it was and triggered the engines to idle.

The plane’s second radio altimeter displayed the correct elevation, but it didn’t matter: the

automatic throttle was tied to the first gauge. The Amsterdam-bound plane crashed into a field,

killing nine people and injuring 120.

         74.    Boeing ended up changing that throttle system to prevent one erroneous altitude

reading from cascading into tragedy, changes the U.S. Federal Aviation Administration

subsequently made mandatory.

         75.    The Turkish Airlines Crash, which injured and killed some of its own Boeing

employees who happened to be on the flight, provided clear notice that relying upon one data point

to provide information to the flight control system can be fatal.

         76.    Max 8 Safety Notice Number 3: Lion Air 610 Crash of October 29, 2018. One

Hundred and Eighty-Nine (189) lives were lost when a Max 8 crashed. Investigators quickly

concluded that the MCAS system on the aircraft was activated resulting from erroneous angle of


4
 https://www.bloomberg.com/news/articles/2019-05-07/boeing-max-failed-to-apply-safety-lesson-from-deadly-
2009-crash

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attack (AOA) information and the pilots were without an optional feature that would have alerted

them to the error. This is the single biggest notice that Boeing had that its Max 8 aircraft was

defective and dangerous yet it concealed these defects in order to sell more of the Max 8 airplanes.

       77.     Boeing delivered the subject crashed Max 8 to Ethiopian Airlines after the Lion Air

Crash. It flew the aircraft from Boeing Field in Seattle, Washington to Dublin, Ireland on

November 15, 2018, delivering the aircraft in Addis Ababa on November 17, 2018.




       78.     Only after the Lion Air Crash and the loss of 189 lives did Boeing tell different

airlines months apart from one another that cockpit alerts for the AOA sensors did not work on the

Max 8 due to a software error.

       79.     Boeing told Southwest Airlines about the problem in late November 2018 and

began installing additional cockpit warning systems by late November.

       80.     Boeing told United Continental Holdings, Inc. about the software error toward the

end of March, four months after Southwest and after the crash of Ethiopian Airlines Flight 302.

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         81.     Max 8 Safety Notice Number 4: In 2017 Boeing engineers learned that alerts were

not operating as intended on the Max 8 due to a software error. 5 Instead of telling the Federal

Aviation Administration or the airlines or pilots, it concealed this problem.

         82.     Max 8 Safety Notice Number 5: During the action design of the Max 8 Boeing

intentionally chose to use a single point failure system, without redundancies. 6 In aviation design

it is essential to have a fail safe or backup. Boeing violated this simple aviation safety rule. Boeing

engineers and managers noticed that this fundamental rule was being violated but did nothing.

         83.     Boeing chose not to make the MCAS system redundant in order to make the Max

8 cheaper for training purposes, in order to sell more airplanes.

         84.     Rick Ludtke, a former Boeing engineer who worked on designing the interfaces on

the Max 8’s flight deck, said managers mandated that any differences from the previous 737 had

to be small enough that they wouldn’t trigger the need for pilots to undergo new simulator training.

         85.     According to Mr. Ludtke, if the group had built the MCAS in a way that would

depend on two sensors, and would shut the system off if one fails, he thinks the company would

have needed to install an alert in the cockpit to make the pilots aware that the safety system was

off. And if that happens, Ludtke said, the pilots would potentially need training on the new alert

and the underlying system. That could mean simulator time, which was off the table."

               BOEING FALSIFIED AND OMMITTED INFORMATION FROM
                              PILOTS AND AIRLINES

         86.     Boeing concealed information about the MCAS system from its customers and

passengers.


5
  https://www.wsj.com/articles/boeing-knew-about-safety-alert-problem-for-a-year-before-telling-faa-airlines-
11557087129
6
  https://www.seattletimes.com/business/boeing-aerospace/a-lack-of-redundancies-on-737-max-system-has-baffled-
even-those-who-worked-on-the-jet/?utm_source=twitter&utm_medium=social&utm_campaign=article_inset_1.1


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         87.     Boeing purposefully concealed information about the MCAS system in order to sell

more aircraft.

         88.     Boeing affirmatively omitted information about the MCAS system from its Flight

Control Manual on the Max 8.

         89.     Boeing affirmatively chose not to instruct or train pilots on the MCAS system, in

order to sell more Max 8 airplanes.

         90.     After the public and pilots questioned the safety of the Max 8 Boeing continued to

conceal and omit information about the safety of the Max 8, in order to sell more aircraft.

         91.     After the public and pilots questioned the safety of the training for the Max 8, which

does not rely upon simulator training, Boeing continued to downplay the need for simulator

training, in order to sell more aircraft.

          BOEING CONSPIRED WITH THE FEDERAL AVIATION ADMINISTRATION

         92.     Federal Aviation Administration safety engineers worked under constant pressure

from their managers to delegate more and more work to Boeing itself, and to speedily approve the

Max 8 safety assessments the Boeing designees came up with. 7

         93.     Boeing removed a senior engineer acting as an FAA Authorized Representative

who raised questions about the speed with which the FAA was being asked to approve Boeing’s

changes to the Max 8.

         94.     Federal Aviation Administration (FAA) engineers in Renton worked in a negative

work environment created by FAA managers where safety engineers feared retaliation for

attempting to hold Boeing accountable.




7
  https://www.seattletimes.com/business/boeing-aerospace/engineers-say-boeing-pushed-to-limit-safety-testing-in-
race-to-certify-planes-including-737-max/

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       95.     According to the Seattle Times, the culture at the Renton, Washington aircraft

certification office involved delegating more than the FAA technical specialists were comfortable

with. When the FAA's safety engineers had an opinion different from Boeing's, FAA management

in the office tended to side with Boeing.

       96.     The current procedure under which aircraft are certified creates a system that is

vulnerable to undue pressure and control from the aircraft manufacturer. This diagram from the

Seattle Times illustrates the difference between how aircraft used to be certified to be allowed to

be sold and flown and the current certification process.




       97.     Boeing took advantage of this system in order to rush a dangerous airplane to

market in order to compete with Airbus and increase its revenue.

       98.     The FAA worked with Boeing to assist it in its abuse of this system and allowed a

dangerous aircraft to be marketed, sold and flown globally.




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                                   FACTS ABOUT BOEING

        99.     Boeing markets itself as “the world's largest aerospace company and leading

manufacturer of commercial jetliners” and claims “a long tradition of aerospace leadership and

innovation” including “creating advanced technology solutions.”

        100.    With corporate headquarters in Chicago, Boeing employs more than 165,000

people across the United States and in more than 65 countries.

        101.    Boeing claims it has “one of the most diverse, talented and innovative workforces

anywhere.”

        102.    In Boeing’s 2018 Annual Report, its reported annual revenue was $101.1 billion in

revenue.

        103.    Despite these resources, the Max 8 aircraft at issue was not equipped with

appropriate sensors, warning systems, software, or a trim system to warn or protect the people on

board that airplane from a computer initiated crash into terrain that resulted in a crater 30 meters

deep.

        104.    Despite these resources Boeing shifted the cost of Max 8 pilot training to the

airlines and designed its aircraft in an unsafe manner to create a selling point- cheap training for

flight crews.

        105.    Despite these resources the subject aircraft’s flight crew lacked training on how to

mitigate or prevent an MCAS initiated crash from faulty AOA sensor data so that it could save the

lives of the One Hundred and Fifty-Seven passengers and crew onboard.

        106.    Boeing knew that information from a single AOA sensor could cause a fatal crash

and knew that safer alternatives were available that were technologically available and

economically feasible.



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           107.     Yet Boeing did not design or redesign or retrofit the subject Max 8 aircraft to

remove or reduce the occurrence of these hazardous events.

           108.     Rather than admit the truth about the Max 8, Boeing instead deliberately

misrepresented the safety of its aircraft.

           109.     For instance, after the Lion Air Crash and months prior to the Ethiopian Airlines

Crash, pilots from the Allied Pilot’s Association complained to Boeing about its concealment of

the MCAS system and the danger of hiding information on the Max 8 from pilots. In response

Boeing misrepresented the safety of the Max 8. 8

           110.     During that meeting a pilot said “We flat out deserve to know what’s on our

airplane.” "I don't disagree," the official from Boeing responded. "[The pilots of Lion Air 610]

didn't even know the damn system was on the airplane," another pilot said. "Nor did anybody else."

The Boeing official stated "I don't know that understanding this system would have changed the

outcome of this, in a million miles you're going to maybe fly this airplane, and maybe once you're

going to see this ever." Four months later, Ethiopian Airlines flight 302 crashed minutes after take-

off and evidence continues to mount that the MCAS was a major factor in the crashes of the two

planes.

           111.     Due to the danger posed by the Max 8 the Federal Aviation Administration has

grounded the aircraft.

           112.     As described in further detail herein, Boeing knew of the defects in the subject

aircraft, knew that because of such defects the Max 8 was not airworthy, was on notice that the

defects were likely to cause injury and death yet failed to adequately warn or instruct on the aircraft

defects, failed to remedy the known defect in the subject aircraft, failed to discover the dangerous



8
    https://interestingengineering.com/pilots-confronted-boeing-about-risks-before-2nd-737-max-8-crash

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conditions when such could have been discovered and / or failed to take affirmative action to avoid

injury to Plaintiffs and others.

        113.    Because of Boeing’s gross, willful, and reckless disregard for human life, families,

including AL MARHUM HUSSEIN SWALEH M TETU’s family, have mourned the loss of a

loved one whose life should never have been put at risk. Families of the decedents were given soil

from the crash site as they could not bury their loved ones because the bodies were burnt beyond

recognition. Punitive damages should be awarded in this case to punish and deter Boeing and

others from taking these kinds of risks with people’s lives again.

                                             COUNT I
                      Strict Liability: Design Defect, The Boeing Company

        114.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        115.    Boeing designed, manufactured, distributed and/or sold the Boeing 737 Max 8, and

its components parts, involved in the incident. Defendants were in the business of designing,

testing, manufacturing, selling, assembling, building, distributing, marketing and/or inspecting

aircraft as suitable for passenger transportation, including the subject Boeing 737 Max 8, and its

component parts, that crashed in Ethiopia on March 10, 2019.

        116.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 aircraft,

and its component parts, was being operated by Ethiopian Airlines and used for the purposes of

which it was manufactured, designed, inspected, sold and intended to be used, in a manner

reasonably foreseeable to Boeing.

        117.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8, and its

component parts, were defective, dangerous, unsafe, and not airworthy by reason of Boeing’s

defective manufacture, design, warning systems, inspections, testing, service, and/or maintenance

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of the subject aircraft, and its component parts, as set forth above. The aircraft, and its component

parts, were in substantially similar condition to its original condition at delivery to Ethiopian

Airlines.

       118.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       119.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       120.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       121.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       122.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of



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the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

        123.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

        124.    Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiff requests judgment against Defendant THE BOEING COMPANY

for compensatory damages, punitive damages, costs, fees, and all other awards deemed just. The

plaintiffs further demand a trial by jury of all issues triable as of right by a jury.

                                     COUNT II
      Strict Liability: Defect in Warnings / Instructions, The Boeing Company

        125.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.




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        126.    Defendant Boeing designed, manufactured, distributed and/or sold the Boeing 737

Max 8 involved in the incident. Defendant Boeing was in the business of designing, testing,

manufacturing, selling, assembling, building, distributing, marketing and/or inspecting aircraft as

suitable for passenger transportation, including the subject Boeing 737 Max 8 that crashed in

Ethiopia on March 10, 2019.

        127.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 aircraft

was being operated by Ethiopian Airlines and used for the purposes of which it was manufactured,

designed, inspected, sold and intended to be used, in a manner reasonably foreseeable to Defendant

Boeing.

        128.    At all times relevant hereinabove set forth, the subject Boeing 737 Max 8 was

defective, dangerous, unsafe, and not airworthy by reason of Defendant Boeing’s defective

manufacture, design, warning systems, inspections, testing, service, and/or maintenance of the

subject aircraft as set forth above.

        129.    At all times relevant hereinabove set forth, Boeing had knowledge that the subject

Boeing 737 Max 8 was defective, dangerous, unsafe, and not airworthy, and in particular, Boeing

had knowledge of the unreasonably unsafe design of the AOA sensor and automated MCAS, as

well as the potential life and death risks of such a failure in these systems.

        130.    At all times relevant hereinabove set forth, the risks of failure of the Boeing 737

Max 8 due the aircraft’s unreasonably dangerous and defective design presented a substantial

danger when the aircraft is used or misused in an intended or reasonably foreseeable way.

        131.    Ordinary consumers, including but not limited to airlines, flight crew, and

passengers, would not have recognized the potential risks presented by the aircraft’s unreasonably

dangerous and defective design.



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       132.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       133.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       134.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       135.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       136.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots in the regarding the

performance of the MCAS, the lack of clear instruction and training, and the incidence of

unexpected MCAS dives and flight control issues; and Boeing’s identification of a software




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upgrade to address problems with the AOA sensors and MCAS in the weeks and months prior to

the crash of Flight 302.

        137.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

        138.    Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights         and/or safety of others, such

that Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING COMPANY

for compensatory damages, punitive damages, costs, fees, and all other awards deemed just. The

plaintiffs further demand a trial by jury of all issues triable as of right by a jury.

                                     COUNT III
                       Breach of Warranty, The Boeing Company

        139.    PLAINTIFFS incorporate and re-allege each of the paragraphs set forth above as

though fully set forth herein.

        140.    BOEING was the designer, manufacturer, distributor and/or seller of the Boeing

737 MAX 8, and/or its component parts, involved in the subject crash.


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       141.    Prior to the crash of Flight 302, BOEING expressly and/or impliedly warranted

and represented that the subject aircraft (the BOEING 737 MAX 8) including its component parts

and instruments, and in conjunction with the instructions and warnings given by BOEING, was

airworthy, of merchantable quality, both fit and safe for the purpose of commercial air travel for

which it was designed, intended and used. Additionally, BOEING further warranted that the

subject aircraft, and its component parts, was free from all defects.

       142.    BOEING breached said warranties in that the subject aircraft was not airworthy,

of merchantable quality, or fit and safe for the purposes for which it was designed, intended and

used, and free from all defects as set forth above. The aircraft, and its component parts, were in

substantially similar condition to its original condition at delivery to ETHOPIAN AIRLINES.

       143.    DECEDENT, as a passenger of Flight 302, was an intended third-party beneficiary

of BOEING’s warranties that Flight 302 (the BOEING 737 MAX 8 and its component parts) was

airworthy, of merchantable quality, both fit and safe for the purposes for which it was designed,

intended and used, and free from all defects.

       144.    DECEDENT reasonably relied on these warranties to DECEDENT’s detriment.

       145.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, DECEDENT suffered pre-impact injury and death, including fear of impending and

imminent death, and PLAINTIFFS have been damaged by the death of DECEDENT.

       146.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

BOEING, hereinabove alleged, PLAINTIFFS suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from DECEDENT, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.



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       147.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFFS incurred funeral and/or burial expenses and/or related medical expenses in

an amount according to proof at trial.

       148.    As a further direct and legal result of the wrongful conduct of BOEING set forth

above, PLAINTIFFS suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       149.    The potential harm to airline passengers, pilots, crews, and the public from the 737

MAX 8 was objectively foreseeable both in nature and in scope and were subjectively known to

BOEING for all of the aforementioned reasons, including but not limited to: BOEING’s own

safety assessment of the AOA sensor and MCAS during development of the 737 MAX 8 which

revealed potential problems with the system; the evidence that flight control issues caused the

crash of Lion Air Flight 610 and death of 189 people; complaints lodged by pilots in the ASRS

database regarding the performance of the MCAS, the lack of clear instruction and training, and

the incidence of unexpected MCAS dives and flight control issues; and BOEING’s identification

of a software upgrade to address problems with the AOA sensors and MCAS in the weeks and

months prior to the crash of Flight 302.

       150.    As set forth above and as will be shown by proof, there is a high degree of certainty

that PLAINTIFFS have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and BOEING’s conduct. A high degree of moral

blame is attached to BOEING’s conduct, and the policy of preventing future harm justifies both

the recognition of the existence of a duty of care owed by BOEING to all PLAINTIFFS and the

imposition of all damages described above.




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        151.       Based on the foregoing, BOEING, acted willfully, wantonly, with oppression,

fraud, malice, and/or with a knowing, conscious disregard for the rights and/or safety of others,

such that PLAINTIFFS request that the trier of fact, in the exercise of sound discretion, award

PLAINTIFFS additional damages for the sake of example and sufficient to punish BOEING, for

its despicable conduct, in an amount reasonably related to PLAINTIFFS’ actual damages and

BOEING’s financial condition, yet sufficiently large enough to be an example to others and to

deter BOEING and others from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                         COUNT IV
                               Negligence, The Boeing Company

        152.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        153.       At all relevant times hereinabove set forth, Defendant Boeing was the designer,

manufacturer, distributor and/or seller of the Boeing 737 Max 8 aircraft. Defendant Boeing was, at

all times relevant, in the business of designing, testing, manufacturing, selling, assembling,

building, distributing, marketing and/or inspecting aircraft as suitable and safe for passenger

transportation, including the subject Boeing 737 Max 8 that crashed in Ethiopia on March 10, 2019.

        154.       At all relevant times hereinabove set forth, Defendant Boeing operated, supervised,

managed and/or oversaw the training and instruction of all Max 8 pilots and knew or should have

known that the pilots of Ethiopian Airlines Flight 302 could not safely fly the Max 8.




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       155.    At all times hereinabove set forth, Boeing breached its duty of care to Decedent as

a passenger aboard Flight 302 with respect to the design, manufacture, inspection, testing,

assembly, certification, distribution, and/or sale of a safe, airworthy aircraft; including the failure

to train, instruct, and/or issue advisory warnings necessary to assure the safe operation, control,

management and/or maintenance of the aircraft. Boeing’s acts and/or omissions include, but are

not limited to the following:

               a. Designing, manufacturing, assembling and/or certifying an aircraft with an anti-
                  stall system controlled by a single AOA sensor instead of two; or
               b. Designing manufacturing, assembling and/or certifying an aircraft with an anti-
                  stall system which was susceptible to failure without redundant systems; or
               c. Designing, manufacturing, assembling and/or certifying an aircraft with a flight
                  control system susceptible to bad data from the AOA sensor, and failing to
                  install AOA indicators and/or AOA disagree lights as standard features rather
                  than optional upgrades; or
               d. Designing, manufacturing, assembling and/or certifying an aircraft with a flight
                  control system that would initiate a dangerous automated dive without any
                  command from a pilot and without a means to promptly override the automated
                  dive; or
               e. Marketing and selling the 737 Max 8 as an analog to Boeing’s 737NG to
                  consciously and intentionally induce airlines to avoid the time-consuming
                  retraining of airline pilots with the knowledge that the Max 8 contained a new
                  and potentially dangerous MCAS automated flight control system; or
               f. Failing to provide adequate warning with regard to the 737 Max 8’s MCAS and
                  the risk of an automated dive without any command from a pilot, or clear
                  instruction to promptly override such an MCAS automated dive; or
               g. Failing to conduct a thorough and accurate safety assessment of the aircraft,
                  including Boeing’s failure in its safety assessment to account for the degree to
                  which the MCAS could move the horizontal stabilizer of the aircraft and failure
                  to account for the resetting of the automated dive after each command from a
                  pilot; or
               h. Failing to properly train pilots on the new automated MCAS systems on the 737
                  Max 8; or
               i. Failing to properly train pilots to identify an AOA sensor failure and MCAS
                  input; or
               j. Failing to properly train pilots to disengage the stabilizer trim motor on the 737
                  Max 8 in the event of an AOA sensor failure or unanticipated dive; or

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               k. Designing, assembling, and distributing a flight manual that did not warn of the
                  risks presented by the MCAS, faulty AOA sensors, or automated dives; or
               l. Designing, manufacturing, assembling and/or certifying an airplane flight
                  manual that failed to provide clear instruction or procedures on how to promptly
                  override an automated MCAS dive; or
               m. Failing to promptly issue a software patch to address the risk of malfunctioning
                  AOA sensors and automated MCAS dives following the October 29, 2018 crash
                  of Lion Air Flight JT 610; or
               n. Failing to ground all 737 Max 8 aircraft following the crash of Lion Air Flight
                  JT 610 until such a software patch and/or other safety procedures could be
                  implemented; or
               o. Failing to properly warn pilots, airlines, and the public of the risk of
                  malfunctioning AOA sensors and automated MCAS dives following the crash
                  of Lion Air Flight JT 610.
       156.    As a direct and legal result of Defendant Boeing’s negligence, carelessness, gross

negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set forth,

Decedent died in the crash of Flight 302.

       157.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       158.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       159.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.




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       160.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       161.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of

the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

       162.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral

blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

       163.    Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial



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condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                          COUNT V
                            Civil Conspiracy, The Boeing Company

        164.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        165.       Defendant Boeing entered into an agreement with the FAA, and its agents,

employees, and/or directors, and/or other persons and/or entities to accomplish by concerted action

either an unlawful purpose or a lawful purpose by unlawful means.

        166.       Boeing and its co-conspirators committed tortious and/or unlawful acts in

furtherance of this agreement, including but not limited to, deceiving the public as to the safety of

the 737 Max 8 aircraft and its component parts and systems, certifying the aircraft and the MCAS

as safe based upon false and/or inaccurate information, failing to provide clear instruction in flight

manuals or informing pilots as to automated systems embedded in the 737 Max 8 aircraft, denying

technical experts the necessary time or resources to thoroughly evaluate the 737 Max 8 aircraft,

and compelling technical experts to certify the aircraft despite their concerns about the safety of

the 737 Max 8, all in violation of applicable laws, regulations, and mandatory duties.

        167.       As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

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       168.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Boeing, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       169.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       170.    As a further direct and legal result of the wrongful conduct of Boeing set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

       171.    The potential harm to airline passengers, pilots, crews, and the public from the 737

Max 8 was objectively foreseeable both in nature and in scope and were subjectively known to

Boeing for all of the aforementioned reasons, including but not limited to: Boeing’s own safety

assessment of the AOA sensor and MCAS during development of the 737 Max 8 which revealed

potential problems with the system; the evidence that flight control issues caused the crash of Lion

Air Flight 610 and death of 189 people; complaints lodged by pilots regarding the performance of

the MCAS, the lack of clear instruction and training, and the incidence of unexpected MCAS dives

and flight control issues; and Boeing’s identification of a software upgrade to address problems

with the AOA sensors and MCAS in the weeks and months prior to the crash of Flight 302.

       172.    As set forth above and as will be shown by proof, there is a high degree of certainty

that Plaintiffs have suffered those injuries and damages, and that there is an extremely close

connection between those injuries and damages and Boeing’s conduct. A high degree of moral



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blame is attached to Boeing’s conduct, and the policy of preventing future harm justifies both the

recognition of the existence of a duty of care owed by Boeing to all Plaintiffs and the imposition

of all damages described above.

        173.       Based on the foregoing, Boeing, acted willfully, wantonly, with oppression, fraud,

malice, and/or with a knowing, conscious disregard for the rights and/or safety of others, such that

Plaintiffs request that the trier of fact, in the exercise of sound discretion, award Plaintiffs

additional damages for the sake of example and sufficient to punish Boeing, for its despicable

conduct, in an amount reasonably related to Plaintiffs’ actual damages and Boeing’s financial

condition, yet sufficiently large enough to be an example to others and to deter Boeing and others

from engaging in similar conduct in the future.

        WHEREFORE, Plaintiffs request judgment against Defendant THE BOEING

COMPANY for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                          COUNT VI
                               Negligence, Rosemount Aerospace

        174.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        175.       At all relevant times hereinabove set forth, Defendant Rosemount owed a duty to

the occupants of Boeing’s 737 Max 7 aircraft and the general public, including the Decedent, to

exercise reasonable care to properly develop, design, engineer, test, manufacture, produce, process,

supply, deliver, monitor, market, label, adequately warn, recommend, advertise and/or sell angle

of attack sensors, and/or refrain from introducing area of attack sensors into the stream of

commerce and for the use in 737 Max aircraft, including the subject aircraft.

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       176.    The defective conditions in the Angle of Attack sensor, as discussed above, and the

consequent crash of Flight 302 were legally caused by the negligence, gross negligence,

wrongdoing, tortious conduct, careless acts and omissions of Defendant Rosemount in the

development, design, engineering, testing, manufacturing, production, processing, supplying,

delivery, monitoring, marketing, labeling, and selling, and Rosemount’s failure to warn and

failure to take remedial appropriate remedial action with respect to any and all known dangerously

defective conditions.

       177.    As a direct and legal result of Defendant Rosemount’s negligence, carelessness,

gross negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set

forth, Decedent died in the crash of Flight 302.

       178.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       179.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Rosemount, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from Decedent, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

       180.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.




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        181.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant ROSEMONT

AEROSPACE, INC. for compensatory damages, punitive damages, costs, fees, and all

other awards deemed just. The plaintiffs further demand a trial by jury of all issues triable

as of right by a jury.

                                       COUNT VII
                             Strict Liability, Rosemount Aerospace

        182.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        183.    At all relevant times hereinabove set forth, Defendant Rosemount was the

designer, manufacturer, engineer, distributor and/or seller of aerospace products, including Angle

of Attack sensors, who hold and have held themselves out to the public as having superior

knowledge, skill and expertise in the design, testing, engineering, manufacture, and distribution of

aerospace sensors for commercial aircraft and, in the course of its business, Defendant Rosemount

designed, tested, manufactured, engineered and caused to be placed into the stream of

commerce, a product known as an Angle of Attack sensor for utilization in the Boeing 737 Max 8

aircraft.

        184.    Defendant Rosemount expressly or impliedly warranted that the Angle of Attack

sensor was fit for its intended use in commercial aircraft, being free of defects in their design

and/or maintenance and, further, Defendant Rosemount marketed, sold, distributed, and caused

to be introduced into the stream of commerce by sale to Defendant Boeing. The Angle of Attack

sensor was in substantially similar condition to its original condition at delivery to Boeing.

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        185.    Defects in the Angle of Attack sensor were a legal cause of the subject air crash,

and the defects made the subject aircraft unreasonably dangerous for travel.

        186.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

        187.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Rosemount, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love,

society, solace, companionship, comfort, care, assistance, protection, affection, and/or moral

support from Decedent, as well as other pecuniary injuries including grief, sorrow, and mental

suffering in an amount to be determined at trial.

        188.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

        189.    As a further direct and legal result of the wrongful conduct of Rosemount set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant ROSEMONT

AEROSPACE, INC. for compensatory damages, punitive damages, costs, fees, and all

other awards deemed just. The plaintiffs further demand a trial by jury of all issues triable

as of right by a jury.

                                          COUNT VIII
                                  Negligence, Collins Aerospace

        190.    Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

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       191.    At all relevant times hereinabove set forth, Defendant Collins owed a duty to the

occupants of Boeing’s 737 Max 7 aircraft and the general public, including the Decedent, to

exercise reasonable care to properly develop, design, engineer, test, manufacture, produce, process,

supply, deliver, monitor, market, label, adequately warn, recommend, advertise and/or sell the

MCAS system and its software and/or refrain from introducing the MCAS system into the stream

of commerce and for the use in 737 Max aircraft, including the subject aircraft.

       192.    The defective conditions in the MCAS system and its software as discussed above,

and the consequent crash of Flight 302 were legally caused by the negligence, gross negligence,

wrongdoing, tortious conduct, careless acts and omissions of Defendant Collins in the

development, design, engineering, testing, manufacturing, production, processing, supplying,

delivery, monitoring, marketing, labeling, and selling, and Collins’s failure to warn and failure to

take remedial appropriate remedial action with respect to any and all known dangerously defective

conditions.

       193.    As a direct and legal result of Defendant Collins’s negligence, carelessness, gross

negligence, recklessness and/or otherwise wrongful acts and/or omissions hereinabove set forth,

Decedent died in the crash of Flight 302.

       194.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       195.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Collins, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from




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Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

        196.       As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

        197.       As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.

        WHEREFORE, Plaintiffs request judgment against Defendant COLLINS

AEROSPACE for compensatory damages, punitive damages, costs, fees, and all other

awards deemed just. The plaintiffs further demand a trial by jury of all issues triable as of

right by a jury.

                                              COUNT IX
                                   Strict Liability Collins Aerospace

        198.       Plaintiffs incorporate and re-allege each of the paragraphs set forth above as though

fully set forth herein.

        199.       At all relevant times hereinabove set forth, Defendant Collins was the designer,

programmer, manufacturer, engineer, distributor and/or seller of aerospace products, including the

MCAS system and its software who hold and have held themselves out to the public as having

superior knowledge, skill and expertise in the design, testing, engineering, manufacture, and

distribution of MCAS systems and software for commercial aircraft and, in the course of its

business, Defendant Collins designed, programmed, tested, manufactured, engineered and

caused to be placed into the stream of commerce, a product known as the MCAS system and its

software for utilization in the Boeing 737 Max 8 aircraft.

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       200.    Defendant Collins expressly or impliedly warranted that the MCAS system and its

software was fit for its intended use in commercial aircraft, being free of defects in their design

and/or maintenance and, further, Defendant Collins marketed, sold, distributed, and caused to be

introduced into the stream of commerce by sale to Defendant Boeing. The MCAS system and its

software was in a substantially similar condition to its original condition at delivery to Boeing.

       201.    Defects in the MCAS system and its software were a legal cause of the subject air

crash, and the defects made the subject aircraft unreasonably dangerous for travel.

       202.    As a direct and legal result of the wrongful acts and/or omissions hereinabove set

forth, Decedent suffered pre-impact injury and death, including fear of impending and imminent

death, and Plaintiffs have been damaged by the death of Decedent.

       203.    As a direct and legal result of the wrongful acts and/or omissions of Defendant

Collins, hereinabove alleged, Plaintiffs suffered and continue to suffer the loss of love, society,

solace, companionship, comfort, care, assistance, protection, affection, and/or moral support from

Decedent, as well as other pecuniary injuries including grief, sorrow, and mental suffering in an

amount to be determined at trial.

       204.    As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs incurred funeral and/or burial expenses and/or related medical expenses in an

amount according to proof at trial.

       205.    As a further direct and legal result of the wrongful conduct of Collins set forth

above, Plaintiffs suffered economic losses, including but not limited to the loss of financial

support, and/or the loss of household services in an amount according to proof of trial.




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        WHEREFORE, Plaintiffs request judgment against Defendant COLLINS AEROSPACE

for compensatory damages, punitive damages, costs, fees, and all other awards deemed just. The

plaintiffs further demand a trial by jury of all issues triable as of right by a jury.


                                                        /s/ Joseph A. Power, Jr.
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                               Exhibit D
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JABOMA BANDA OCHUODHO PHILIP
AKEYO, ALLAN ONYANGO JABOMA and                          No. _________________
GEORGE OMONDI, as personal
representatives of the Estate of ISABELLA                Removed from
BERYL ACHIENG JABOMA, deceased,                          Circuit Court of Cook County,
                                                         County Department, Law Division
                       Plaintiffs,                       No. 2019 L 04446

       v.

THE BOEING COMPANY, a Delaware
corporation,

                       Defendant.


                                     NOTICE OF REMOVAL

       Defendant The Boeing Company (“Boeing”) hereby removes this civil case from the

Circuit Court of Cook County, Illinois, to the United States District Court for the Northern District

of Illinois, Eastern Division, under 28 U.S.C. §§ 1369, 1441, and 1446. This case arises from the

crash of Ethiopian Airlines Flight 302 on March 10, 2019, which resulted in the death of all 157

people on board. This Court has original jurisdiction, and removal is proper, under the Multiparty,

Multiforum Trial Jurisdiction Act of 2002, 28 U.S.C. § 1369. Removal is timely, as Boeing was

served with the Complaint on May 22, 2019, and this Notice of Removal is being filed within the

30-day period under 28 U.S.C. § 1446.

                       I.      INTRODUCTION AND BACKGROUND

A.     The Accident
       This lawsuit arises from the crash of a Boeing 737-8 aircraft near Ejere, Ethiopia on March

10, 2019, in which 157 passengers and crew died. See Compl. ¶¶ 1, 3–4, 6. The aircraft was being

operated as a commercial flight by Ethiopian Airlines and departed from Addis Ababa, Ethiopia,

bound for Nairobi, Kenya. Id. ¶ 2. This crash is the subject of an ongoing investigation by

Ethiopia’s Aircraft Accident Investigation Bureau (“AIB”), which released its Preliminary Report
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on April 4, 2019. A copy of the Preliminary Report is attached as Exhibit A. A final report will

be issued at the conclusion of the investigation.

B.     The Complaint
       Plaintiffs filed their Complaint on April 25, 2019, in the Circuit Court of Cook County,

Illinois, County Department, Law Division, as Case No. 2019L04446. A copy of the Complaint is

attached as Exhibit B. Plaintiffs bring a wrongful death action against Boeing both on their own

behalf and on behalf of the estate of their decedent, Isabella Beryl Achieng Jaboma (the

“Decedent”), a passenger on Ethiopian Airlines Flight 302. Compl. ¶¶ 50–53. The Decedent was

a resident of Kenya. Id. ¶ 46. Plaintiffs assert claims of negligence, wrongful death, breach of

warranty, strict products liability, failure to warn, and civil conspiracy against Boeing. Id. at pp.

38–51 (Counts I–VI).

                              II.     GROUNDS FOR REMOVAL
       A civil action brought in state court is removable if the district court has original

jurisdiction, except in certain diversity cases. 28 U.S.C. § 1441(a). This Court has at least one basis

of original jurisdiction here, as this action falls under the original jurisdiction created by the

Multiparty, Multiforum Trial Jurisdiction Act of 2002 (“MMTJA”). 28 U.S.C. § 1369. The

MMTJA created “a mechanism whereby litigation stemming from one major disaster could easily

be consolidated in one federal court for discovery and trial.” Passa v. Derderian, 308 F. Supp. 2d

43, 53 (D.R.I. 2004); see also Pettitt v. The Boeing Co., 606 F.3d 340, 341 (7th Cir. 2010) (“A

primary purpose of the MMTJA was to consolidate multiple cases arising out of a single

disaster.”). “Major airline disasters” such as Ethiopian Airlines Flight 302 are the very type of

accident that were intended to be the subject of original federal jurisdiction under the MMTJA.

Passa, 308 F. Supp. 2d at 54; see also Pettitt, 606 F.3d at 341–42 (the MMTJA provided a basis

for Boeing to remove to federal court plaintiffs’ wrongful death and survival actions arising out of

an aircraft crash in Cameroon).




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         The MMTJA grants original jurisdiction to district courts where: (1) the claim arises from

a single accident in which at least 75 natural persons died; (2) there is minimal diversity between

the parties; and (3) one defendant resides in a State other than the location where the accident

occurred. 28 U.S.C. § 1369(a). The statute further specifies circumstances in which the court is

required to abstain from exercising its jurisdiction. See id. § 1369(b). There is no amount in

controversy requirement, and a case is removable under the MMTJA even if a defendant is a citizen

of the state where the action is brought. See 28 U.S.C. §§ 1369, 1441(e)(1). All requirements under

the MMTJA are met, and this action is removable. See 28 U.S.C. §§ 1369(a), 1441(a), and

1441(e)(1)(A).

         First, this action arises from a single accident in which at least 75 persons died at a discrete

location. See 28 U.S.C. § 1369(a). The crash of Ethiopian Airlines Flight 302 near Ejere, Ethiopia

resulted in the deaths of all 157 persons on board. See Compl. ¶ 6; see also Ex. A at 5, 9.

         Second, there is minimal diversity. Minimal diversity exists if “any party is a citizen of a

State and any adverse party is a citizen of another State, a citizen or subject of a foreign state, or a

foreign state as defined in section 1603(a) of this title.” 28 U.S.C. §§ 1369(c)(1). Boeing is a

Delaware corporation with its principal place of business in Illinois, Compl. ¶ 54, and thus is a

citizen of those two states. See 28 U.S.C. § 1369(c)(2). Accordingly, if the plaintiff is not a citizen

of Delaware or Illinois, minimal diversity is met. Because this case involves claims asserting the

wrongful death of the Plaintiffs’ Decedent, the relevant inquiry is the citizenship of the Decedent.

28 U.S.C. § 1332(c)(2); see generally, Lincoln Prop. Co. v. Roche, 546 U.S. 81, 93–94 (2005).

The Decedent is a citizen of Kenya.1 Minimal diversity thus exists.




1
  The Complaint alleges that the Decedent was a resident of Nairobi, Kenya. Compl. ¶ 46. It further alleges that she
received her undergraduate degree from a university in Kenya, id., and that she had been employed with a not-for-
profit organization headquartered in Kenya. Id. ¶ 48. These allegations provide a sufficient basis to infer that the
Decedent—a Kenyan resident educated and employed in that country—was not a citizen of a U.S. state, including of
Illinois or Delaware. See, e.g., Nat’l Farmers Union Prop. & Cas. Co. v. Fisher, 284 F.2d 421, 422–23 (8th Cir. 1960).
Based on the totality of the allegations in the Complaint, coupled with media reports mentioning the Decedent, Boeing
alleges that the Decedent was a citizen of Kenya.

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         Third, a “substantial part of the accident” took place at a location other than where Boeing

resides. 28 U.S.C. § 1369(a)(1). The accident occurred in Ethiopia. Compl. at pp. 2–3; see also

Ex. A at 9, 23–24. Boeing is not incorporated in Ethiopia, nor does it have its principal place of

business there. Compl. ¶ 54. Therefore, a “substantial part of the accident” took place at a location

other than where Boeing resides. 28 U.S.C. § 1369(a)(1).

         Finally, there is no basis for abstention. Under 28 U.S.C. § 1369(b), the district court shall

abstain if (1) “the substantial majority of all plaintiffs are citizens of a single State of which the

primary defendants are also citizens,” and (2) “the claims asserted will be governed primarily by

the laws of that State.” 28 U.S.C. § 1369(b). The first requirement is not met here. As stated above,

the sole Decedent in this case is a Kenyan resident, who is completely diverse from Boeing.

  III.      BOEING HAS SATISFIED THE OTHER REQUIREMENTS FOR REMOVAL
         The undersigned accepted service of the Complaint on behalf of Boeing on May 22, 2019.

This notice is filed within thirty (30) days of such receipt as required by 28 U.S.C. § 1446(b).

         In accordance with 28 U.S.C. § 1446(a), copies of all of the papers and pleadings on file

with the Circuit Court of Cook County, Illinois are attached at Exhibit C.

         The venue for this removed action is proper because this Court is the United States District

Court for the district and division embracing the place where the removed action was pending. See

28 U.S.C. § 1441(a); 28 U.S.C. § 93(a)(1).
         In accordance with 28 U.S.C. § 1446(d), Boeing is today serving this Notice of Removal

on Plaintiffs and will file a copy of this Notice with the Clerk of the Circuit Court of Cook County,

Illinois.

                                       IV.     CONCLUSION
         WHEREFORE, Boeing hereby removes this action from the Circuit Court of Cook County,

Illinois, to this Court.




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  DATED: June 19, 2019                  THE BOEING COMPANY


                                        By: /s/ Jon R. Buck
                                           One of its Attorneys


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                                 CERTIFICATE OF SERVICE

        I, Jon R. Buck, certify that on June 19, 2019, I electronically filed the foregoing NOTICE
OF REMOVAL with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to attorneys of record, and served a copy by email on the following
counsel of record.

           Candice Diah, Esq.                        Chuck Chionuma, Esq.
           Willie E. Gary, Esq.                      CHIONUMA LAW FIRM, LLC
           Larry A. Strauss, Esq.                    3100 Broadway Blvd., Suite 602
           LAW OFFICES OF GARY,                      Kansas City, MO 64111
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           dpk@williegary.com
           vs@williegary.com

I certify under penalty of perjury that the foregoing is true and correct.

DATED this 19th day of June 2019.


                                               /s/     Jon R. Buck
                                               PERKINS COIE LLP
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                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
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                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
                                 #: 1-2      06/24/19
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                                                                   55 PageID #:5584
Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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Case: 1:19-cv-02170
  Case:             Document
         1:19-cv-04106       #: 68-1
                       Document       Filed:
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